Case 2:07-cv-05715-CAS-PJW Document 734 Filed 02/17/16 Page 1 of 138 Page ID
                                #:16195
                        UNITED STATES DISTRICT COURT

                       CENTRAL DISTRICT OF CALIFORNIA

                                WESTERN DIVISION

                                    - - - - -

         THE HONORABLE CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE

                                    PRESIDING



      OSAMA AHMED FAHMY,             )
                                     )
                Plaintiff,           )
                                     )
         vs.                         )             No. CV 07-5715-CAS
                                     )
                                     )
      JAY-Z AKA SHAWN CARTER, ET AL.,)
                                     )
                Defendants.          )
      _______________________________)




             REPORTER'S TRANSCRIPT OF DAILY TRIAL PROCEEDINGS

                           LOS ANGELES, CALIFORNIA

                         WEDNESDAY, OCTOBER 14, 2015



                            VOLUME II A.M. SESSION

                                 PAGES 1 - 111

      _____________________________________________________________

                        DEBORAH K. GACKLE, CSR, RPR
                          United States Courthouse
                     312 North Spring Street, Room 402A
                       Los Angeles, California 90012
                               (213) 620-1149


        UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 2:07-cv-05715-CAS-PJW Document 734 Filed 02/17/16 Page 2 of 138 Page ID
                                                                           2
                                #:16196
 1    APPEARANCES OF COUNSEL:

 2

 3          ON BEHALF OF PLAINTIFF:

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23               Los Angeles, California 90071

24                                  - - - - -

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                                                                           3
                                #:16197
 1                              A.M.   I N D E X

 2

 3    PLAINTIFF'S    WITNESSES:     DIRECT    CROSS    REDIRECT     RECROSS

 4

 5    MARCUS, SCOTT
      (Continued)                       6
 6                                              33

 7    CARTER, SHAWN                    46       70          98

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16                             E X H I B I T S

17

18    PLAINTIFF'S                                                  RECEIVED

19    133                                                             11

20    58                                                              28

21    11; 21; 31; 55 through 59; 154; 155;

22    157; 204; 207; 208; 213; 214; 291; 292;                         46

23    69                                                              63

24                                  - - - - -

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                                                                           4
                                #:16198
 1       LOS ANGELES, CALIFORNIA; WEDNESDAY, OCTOBER 14, 2015;

 2                                 9:25 A.M.

 3

 4                                  - - - - -

 5               THE CLERK:     Item 1, calling item 1, CV 07-5715-SVW,

 6    Osama Ahmed Fahmy v. Jay-Z, also known as Shawn Carter, et al.

 7               Counsel, please state your appearances.

 8               MR. ROSS:     Good morning, Your Honor.     Peter Ross and

 9    Keith Wesley for the plaintiff.

10               THE COURT:     Good morning.

11               MS. LEPERA:     Good morning, Your Honor.     Christine

12    Lepera and David Steinberg, Mitchell Silberberg, for defendants

13    Mr. Mosely and Mr. Carter.

14               THE COURT:     Good morning.

15               MR. BART:     Good morning, Your Honor.     Andrew Bart and

16    Daniel Rozansky for defendant Carter.

17               THE COURT:     Good morning.

18               Ms. Lepera, do you have something you wish to raise?

19               MS. LEPERA:     Yes, just briefly, Your Honor.

20    Yesterday, in several of the questions, prefatory comments were

21    made by Mr. Ross about things he could not talk about based on

22    your rulings, and we would request that there would be no such

23    prefatory comments in questions that indicate there's been

24    rulings prohibiting asking certain questions.

25               THE COURT:     I think that obviously it is Mr. Ross'


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                                                                           5
                                #:16199
 1    technique and trial tactic, but I think you're correct; and I

 2    probably would not have raised it on my own, but I think it is

 3    inappropriate to say that I'd tell you this except the court

 4    won't let me do it.

 5               MR. ROSS:     Your Honor, I did it in a very neutral

 6    way.   I just said, I can't -- I understand what the court's

 7    saying so I won't --

 8               THE COURT:     I would appreciate that.

 9               MS. LEPERA:     Thank you, Your Honor.

10               THE COURT:     Anything to take up?        I mean, I thought

11    we were going to do the objections at noon.            We apparently have

12    a late juror so -- the juror got here.         Okay.     I think we can

13    go forward.

14                       (Open Court - Jury Present)

15               THE COURT:     Mr. Ross.

16               MR. ROSS:     Thank you, Your Honor.

17               Good morning, Your Honor.        Good morning, ladies and

18    gentlemen of the jury.

19               Dr. Marcus, would you please resume the stand.

20               THE CLERK:     You are reminded you're still under oath.

21               THE WITNESS:     Okay.     Good morning.

22               THE COURT:     Good morning.

23               MR. ROSS:     May I continue, Your Honor?

24               THE COURT:     You may.

25               MR. ROSS:     Thank you.


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                                                                           6
                                #:16200
 1          SCOTT MARCUS; PLAINTIFF'S WITNESS, SWORN, TESTIFIED:

 2                        DIRECT EXAMINATION (CONTINUED)

 3    BY MR. ROSS:

 4    Q.     Good morning, Dr. Marcus.

 5                   Just to refresh everyone's recollection, yesterday

 6    you told us about your background and experience in

 7    ethnomusicology, correct?

 8    A.     Yes.

 9    Q.     Then we started talking about a number of subjects.        You

10    told us something about who Baligh Hamdy was.

11                   Do you recall that?

12    A.     Yes.

13    Q.     Then we had gotten to Khosara Khosara.

14                   Do you recall that?

15    A.     Yes.

16    Q.     And we talked about the fact that it had been written for

17    a movie called Fata Ahlami, right?

18    A.     That's correct.

19    Q.     And it starred Abdel Halim Hafiz?

20    A.     Correct.

21    Q.     At the very end of the day, you'd identified this

22    Exhibit 128 as the movie itself.

23                   And is this Hafiz?

24    A.     Yes, it is.

25    Q.     Okay.     Abdel Halim Hafiz.


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                                                                           7
                                #:16201
 1                   And this says somewhere in here Fata Ahlami?

 2    A.     Yes, in the bottom sector.

 3    Q.     Okay.     So let's move on.

 4                   You told us you'd seen the movie, correct?

 5    A.     Yes.

 6    Q.     Have you seen the credits to the movie?

 7    A.     Yes, many times.

 8    Q.     And are they in Arabic?

 9    A.     Of course they are in Arabic.

10    Q.     Okay.     Your Honor, I'd like to show the credits to the

11    movie -- there's no music in the credits -- so that Dr. Marcus

12    can identify where it says who wrote Khosara Khosara.

13                   MS. LEPERA:    Objection, hearsay.

14                   THE COURT:    I think it is hearsay.

15    BY MR. ROSS:

16    Q.     This movie, was it publicly available?

17    A.     Absolutely.

18    Q.     And were the credits publicly viewable?

19    A.     Absolutely.

20    Q.     I think that it's relevant for a nonhearsay purpose.

21                   MS. LEPERA:    To the extent he is seeking to offer it

22    for the truth of the matter asserted, it's hearsay, Your Honor.

23                   THE COURT:    I think it probably is.   I think we could

24    get through this quickly if we could have a stipulation that

25    he's credited as the song writer.


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                                                                           8
                                #:16202
 1                   MS. LEPERA:     I have no problem saying that there's a

 2    credit; we don't stipulate that that proves the truth of the

 3    matter asserted.

 4                   THE COURT:     I understand.

 5                   MR. ROSS:     Okay.     So --

 6                   THE COURT:     I just want to move along.

 7    BY MR. ROSS:

 8    Q.     Who's credited with having written the song in the movie?

 9    A.     Okay.     Baligh Hamdy is credited.         This is a film song.

10    This is where the song occurred.               He is credited in the film as

11    having created the song.             He was the composer for the song.

12    Q.     Okay.

13                   Now, next subject.        I want to talk about this:    Based

14    on your knowledge and experience about music in Egypt and your

15    knowledge of Hamdy in particular, how would he have gone about

16    composing a song like Khosara Khosara for this movie?               What

17    would be the first step?

18                   MS. LEPERA:     Objection, no foundation.

19                   THE COURT:     Sustained.

20    BY MR. ROSS:

21    Q.     Are you familiar with how composures would go about

22    writing movies for music in Egypt during this time period?

23    A.     Yes, I am.

24    Q.     And is that one of the studies about -- or one of the

25    subjects that you have studied?


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                                                                           9
                                #:16203
 1    A.     Yes, this is my field of study.

 2    Q.     One of the subjects about which you teach?

 3    A.     Absolutely.

 4    Q.     You mentioned you teach Hamdy in particular; is that

 5    accurate?

 6    A.     That is absolutely correct.

 7    Q.     So how would he have gone about doing this?

 8                   MS. LEPERA:    Objection, Your Honor, no foundation.

 9                   THE COURT:    I think if you ask a slightly different

10    question:       Based on your knowledge, how would one in Egypt go

11    about doing this, you could do that; but we don't know what

12    Mr. Hamdy did.       I think that's her problem.

13                   MS. LEPERA:    Yes, Your Honor.

14    BY MR. ROSS:

15    Q.     You weren't there when Hamdy did this himself.        We

16    understand that, right?

17    A.     That's correct.       I was five years old.

18    Q.     Okay.

19                   How would a movie composer go about this in general

20    at that time period in Egypt?

21    A.     So as I mentioned yesterday, a composer has worked on the

22    flute, called the 'Ud -- and we passed it around yesterday,

23    that string instrument -- and we saw pictures of Beligh Hamdy

24    with the instrument.         So a composer would sit with his 'Ud and

25    create melodies for himself.         He would get a first note going


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                                                                           ID
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  1    and then decide, you know, how to follow that and how to follow

  2    that is sequentially.       He would compose a song.

  3    Q.     Okay.So he would work out the melody as a first step?

  4    A.     That's correct.

  5    Q.     And have you seen -- then would the composer typically

  6    write it down or not?

  7    A.     Oh, it depends on the composer and part depends on what

  8    period of the 20th Century.       So at the beginning of the 20th

  9    Century, no one wrote anything down, and as the 20th Century

 10    progressed, one of the surprising things that happened was that

 11    Arab music began to adopt Western staff notation; and so with

 12    that people started to write things down.        His style -- the

 13    superstar, Umm Kulthoum, she sang all the way up to -- her last

 14    concert in 1973; she did not use notation, but others did.          We

 15    have pictures of Beligh Hamdy using notation so he would have

 16    or could have written it down.

 17    Q.     Okay.

 18                   And have you seen the sheet music for Khosara

 19    Khosara?

 20    A.     Yes, I have.

 21    Q.     Is it publicly available in Egypt?

 22    A.     Yes.

 23    Q.     Have you purchased it publicly in Egypt?

 24    A.     Yes, I have.

 25    Q.     Please take a look at what's been marked for


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                                                                           ID
                                 #:16205
  1    identification as Exhibit 133.        This is in the exhibit books

  2    behind you.

  3                  May I approach, Your Honor, to help him find that?

  4                  THE COURT:    Yes.

  5    BY MR. ROSS:

  6    Q.     Here's 133.

  7                  Have you seen that before?

  8    A.     Yes.

  9                  Can we see this on the screen or . . .

 10    Q.     I can't show it on the screen until you've identified it.

 11    A.     Thank you.Yes, this is a transcription of Khosara Khosara.

 12                  MR. ROSS:    Move to have this admitted as Exhibit 133.

 13                  THE COURT:    It will be received.

 14                  (Plaintiff's Exhibit 133 received in evidence.)

 15    BY MR. ROSS:

 16    Q.     Now, I'm going to put it up on the screen for people to

 17    see.     In a minute, I'll ask you to play this music, but before

 18    we get there, I want to ask what some things say on it.So if we

 19    go to the top, what's this say right in the middle?

 20    A.     That says "Khosara Khosara."

 21    Q.     What does this say over here?

 22    A.     This says "the words" and is a colon, and it says Mahmoun

 23    Shinnaway.      So in other words, we understand this as "the

 24    poet."     The poet is Mahmoun Shinnaway.

 25    Q.     Arabic writing goes from right to left?


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                                 #:16206
  1    A.     Yes.    This says Kilimet.   Kilimet means "words."

  2    Q.     This is "the words," colon, and then the name of the poet?

  3    A.     Yeah.    We understand that's -- it says "words."     It really

  4    means "poem" or "the poet."

  5    Q.     What's this say over here?

  6    A.     This is the equivalent now.     This says "one," and then a

  7    colon.     So this says "composition," and then the colon, and

  8    then it says, "Beligh Hamdy."

  9    Q.     Okay.    Now, what does this say here below the first

 10    measure?

 11    A.     This is an indication for a trill.     A trill is a musical

 12    feature where you move between a note and the one above it.

 13    Q.     What's this say?

 14    A.     This says "Nay," so we're being instructed to play that

 15    measure with a Nay Flute; this is the instrument that I showed

 16    you yesterday.

 17    Q.     Do you have that with you?

 18    A.     Yes, I do.

 19    Q.     Okay.And then below the third measure, what's that say?

 20    A.     That's the trill mark again.

 21    Q.     And then before the measure, what's that?

 22    A.     That's the Nay marking again.

 23    Q.     And then what's this feature right here?

 24    A.     Well, that feature at -- it's parallel at the exact

 25    beginning of the piece.      Do you see that one at the very, very


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  1    beginning?       Maybe you could make that yellow also, at the very,

  2    very beginning.       Yeah.     Those two things together show that

  3    you're supposed to repeat the first four measures.

  4    Q.     With that in mind, what I'd like you to do is to play --

  5    let's say -- the first three lines or so of this piece exactly

  6    as its written.

  7    A.     I'm going to play this on the Nay Flute.

  8    Q.     That's the instrument that's spelled out over measures two

  9    and four?

 10    A.     That's correct.        It says there "Nay."

 11    Q.     Okay.

 12                   (Flute played.)

 13                   MR. ROSS:     Thank you.

 14    Q.     Is that without any orchestration, without any

 15    arrangement, Hamdy's song, Khosara Khosara, at least the

 16    beginning of it?

 17                   MS. LEPERA:     Objection, Your Honor.   There's a -- two

 18    pieces of sheet music that comprise Exhibit 133.

 19                   THE COURT:     That's true.   I think that's the subject

 20    of cross-examination.

 21                   MS. LEPERA:     Fine.

 22                   THE COURT:     You may answer.

 23                   THE WITNESS:     What I played is music that's -- it's

 24    the beginning portion of Khosara Khosara.

 25    ///


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                                                                           ID
                                 #:16208
  1    BY MR. ROSS:

  2    Q.     Okay.

  3                   And I think you mentioned before, but is Khosara

  4    Khosara quite a long song?

  5    A.     You know, in this time period, Arab music developed to

  6    create very long songs; all songs were long.        So a concert

  7    version of this could take a half hour; a shorter version could

  8    take a shorter amount of time.       The film version is probably

  9    the shortest version.

 10    Q.     And what you played is the beginning of the song.

 11    A.     Yes.     It's called the muqadimma, the instrument in

 12    introduction.

 13    Q.     And as far as you're aware, is that an original song in

 14    Egyptian music?

 15    A.     There is absolutely no question that this is an original

 16    composition.

 17    Q.     Are you aware of anything that's just like it out there?

 18    A.     This is a unique and completely distinct composition.

 19    Q.     Okay.

 20                   Now, we were talking about how a composer would have

 21    gone about writing a song for the movie in which it appeared,

 22    and you'd started telling us that he or she would have worked

 23    out the melody, right?

 24    A.     That's correct.

 25    Q.     And what would the composer have done next?


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  1    A.     Here's the crucial thing:       He would have gone with his

  2    completed composition and sat with the singer, perhaps first,

  3    or together with the musicians.         If he went to the singer

  4    first, he would have gone to the band; the instrument was

  5    second.     He would have sat with the instrumentalist and told

  6    him how he wanted his music to be played.

  7                   What this does is that this piece of music we have in

  8    front of us is just the bare bones, the skeletal structure of

  9    the piece.       It is not the final composition because the final

 10    composition gets created as the composer sits with the

 11    musicians.

 12    Q.     Okay.

 13                   So the composer would go actually sit with the

 14    musicians and work out the orchestration?

 15    A.     Could we have the picture where we actually have a picture

 16    of this?       We showed this yesterday.

 17                   MR. ROSS:   Mr. Barnes, may I see slide five from the

 18    slide show.

 19                   THE WITNESS:    This is the instance that I'm talking

 20    about.     So here this is Beligh Hamdy on the right; this is the

 21    singer Abdel Halim Hafiz, the singer of Khosara Khosara, with a

 22    microphone in his hand.         As I mentioned, in this picture he

 23    is -- he is ailing.        He's in a wheelchair, and there are the

 24    musicians around him.         You can see -- you can see four

 25    musicians on the left, and we see the music for one more but --


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                                                                           ID
                                 #:16210
  1    so the room is full of musicians.         Beligh Hamdy's explaining

  2    how he wants his written notation to be played.

  3                MS. LEPERA:     Objection, Your Honor.    There's no

  4    evidence that this is Khosara Khosara in this clip.

  5                THE WITNESS:     Please understand --

  6                THE COURT:     No, no, no.    Don't you speak.

  7                THE WITNESS:     Thank you.

  8                THE COURT:     I'm going to overrule the objection.       I'm

  9    not sure I fully understand the objection, but if you're saying

 10    there's no evidence that this slide portrays the recording of

 11    Khosara Khosara, I think that's evident.         I think if the

 12    witness is only saying that this is an example of how --

 13                MS. LEPERA:     With that clarification, Your Honor,

 14    that's fine.

 15                THE COURT:     Am I correct, Mr. Marcus, that you're

 16    saying that this picture is an example how the composer would

 17    go about creating a song?

 18                THE WITNESS:     That's exactly that.

 19                THE COURT:     Okay.

 20                MR. ROSS:     Okay.

 21    Q.     So are you saying that the composer's job doesn't end with

 22    writing out the melody or creating the melody, it extends to

 23    putting together the orchestration with the orchestra itself?

 24                MS. LEPERA:     Objection.    No foundation.

 25                THE COURT:     Overruled.


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                                                                           ID
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  1                You may answer.

  2                THE WITNESS:     This is exactly the case.    That the --

  3    as I just mentioned, the written composition that we just saw

  4    as Exhibit 133 is a bare-bones representation, and the -- the

  5    composer sits with the musicians, the composition, the final

  6    version of the composition, is not the written piece of paper,

  7    it is a recording; and where is the recording of this?          It's in

  8    the film.    Because this is a film song.

  9    BY MR. ROSS:

 10    Q.     And so if we wanted the very best evidence of what Hamdy's

 11    song Khosara Khosara is --

 12                MS. LEPERA:     Objection, Your Honor.

 13                THE COURT:     I'm going to sustain the objection

 14    because we're going into the land of confusion.Ladies and

 15    gentlemen, the reason we're dancing around this issue is the

 16    question in this case is going to be for determining whether

 17    there has been infringement, what you compare to what, and I

 18    have ruled that you compare the sheet music, and what the sheet

 19    music sounds like, to the song at issue; and I have done that

 20    because I believe I'm correct under the case law, but we've had

 21    a lot of back and forth.

 22                And so let's see if we can stay within the confines

 23    of my rulings.

 24                MR. ROSS:     Yes, Your Honor.   We'll move on.

 25    ///


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                                 #:16212
  1    Q.     Let's talk about the third subject.

  2                   Does the song Big Pimpin incorporate a significant

  3    portion of Hamdy's song --

  4                   MS. LEPERA:     Objection to the extent he's going

  5    beyond 133 in that question.

  6                   THE COURT:     I understand.   That's sustained.

  7                   MR. ROSS:     I'm not sure what that means, Your Honor.

  8                   THE COURT:     You have to stick with my ruling in the

  9    motion in limine.

 10                   MR. ROSS:     Of course.   I'm there.   That's what I'm

 11    doing.

 12                   THE COURT:     Okay.

 13    BY MR. ROSS:

 14    Q.     Okay.

 15                   So let's start with what's in evidence as Exhibit 58,

 16    which is a Jay-Z CD called The Hits Collection.

 17    I'll just put this up on the screen so people can see what it

 18    looks like.       Look at the liner inside, on the second-to-last

 19    page of the liner where it describes Big Pimpin.

 20                   And I'll just point out to you, Dr. Marcus, where it

 21    says "Contains elements of Khosara Khosara, used courtesy of

 22    Arc Music."

 23                   Do you see that?

 24    A.     Yes, I do.

 25    Q.     Now, we've been when -- at least when I've been spelling


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                                                                           ID
                                 #:16213
  1    the name of the song, Khosara Khosara, I've been spelling it

  2    with an "o."       So let me ask you about that.

  3                   When words in Arabic get spelled into English, are

  4    there instances where there are different spellings that occur?

  5    A.     Yes, that is always the case.

  6    Q.     Okay.     Is that common?

  7    A.     No, I'm saying it's always the case.        There are about five

  8    different ways or probably many more -- five or ten different

  9    ways to spell Abdel Halim Hafiz; there are four or five

 10    different ways to spell Umm Kulthoum.       It is because the Arabic

 11    script has a limited number of vowels.       There are actually only

 12    three vowels of Arabic:       An "a," and an "i" and a "u."     That's

 13    all they have.       But if people pronounce it somewhat like an

 14    "o," there is a Khosara Khosara; there is a Khasara; some

 15    people pronounce it as Hosara.       So then when you put it in

 16    English letters, or what we call Latin letters, you can spell

 17    with an "o," and many, many, many people do.

 18    Q.     Let me just point out for illustration, Exhibit 292,

 19    page two, which is in evidence.       Here's an exhibit in Arabic.

 20    So when they're writing things like Khosara Khosara, it would

 21    like more like this; is that what you're saying?

 22    A.     Yes.     Of course we saw that at the top of Exhibit 133.

 23    Q.     And so when things get translated to English, sometimes

 24    the translation comes out with one vowel; sometimes it comes

 25    out with another?       Is that what you're saying?


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  1    A.     Absolutely.

  2                   An example is Umm Kulthoum, the singer, some people

  3    write U-m-m; some people write O-m-m, some people write O-u-m.

  4    This is all the same name, differently translated.

  5    Q.     So when this says -- oops -- when this says "Khusara

  6    Khusara," do you understand that to mean the same thing as

  7    Khosara Khosara?

  8    A.     Yeah.     It's "Khosara Khosara" versus Khosara Khosara,

  9    very, very small difference; these are the exact same thing.

 10    Q.     Did you listen to the CD, the Hits Collection of Jay-Z's

 11    songs?

 12    A.     Yes, yes, I did.

 13    Q.     Did you listen to Big Pimpin?

 14    A.     Yes, I did.

 15    Q.     And do agree that it contains elements of Khosara Khosara

 16    as it states there on the liner?

 17                   MS. LEPERA:     Objection, confuses sound recording.

 18    Doesn't stick to 133, misleading, prejudicial.

 19                   MR. ROSS:     In all the questions I ask you, I'm -- I

 20    want you to just think of Khosara Khosara as Exhibit 133, that

 21    melody.

 22                   THE COURT:     That you played here in court.

 23                   MR. ROSS:     That I played here in court.

 24    Q.     And with that in mind, does it include elements of Khosara

 25    Khosara?


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  1                    THE WITNESS:     Your Honor, I'm not clear on something.

  2                    THE COURT:     Well --

  3                    THE WITNESS:     Which is --

  4                    THE COURT:     Let's -- what is your question?

  5                    THE WITNESS:     My question?

  6                    THE COURT:     Yes.

  7                    THE WITNESS:     Okay.

  8                    I am here as an expert witness on Arab music.      I have

  9    already mentioned that the definitive version of the song is

 10    the sound file --

 11                    MS. LEPERA:     Your Honor --

 12                    THE COURT:     I have excluded that information.   What I

 13    want to know is the answer to the question, which is we have a

 14    Exhibit 133; you played Exhibit 133; he is asking you the

 15    question about 133 as played, not as some other sound recording

 16    may have been prepared.

 17    BY MR. ROSS:

 18    Q.      That's what we're limited to, that's what we're going

 19    with.

 20    A.      Okay.

 21    Q.      133.     Does Big Pimpin on this CD incorporate elements of

 22    Khosara Khosara as written on Exhibit 133?

 23    A.      Absolutely.

 24    Q.      Okay.

 25                    And what does it contain?


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  1    A.     It contains the first four measures repeated over and over

  2    and over and over and over.             This is what it contains.

  3    Q.     So I've got 133 back up on the screen.

  4    A.     Uh-huh.

  5    Q.     We're talking about one, two, three, four measures?

  6    A.     And then it gets repeated.

  7    Q.     Okay.

  8                   And that's what's contained in this song Big Pimpin?

  9    A.     That is absolutely the case.

 10    Q.     Okay.

 11                   Could you play just those first four measures on your

 12    Nay Flute, please.

 13    A.     Okay.

 14                   I need to explain my competency as performer here.

 15    Q.     Well, let's just go ahead with playing it.           I realize

 16    you're a little frustrated, but let's just play it.

 17    A.     I need to explain a couple of things here.

 18                   THE COURT:     Dr. Marcus, you don't need to explain

 19    anything; you need to answer the questions.

 20                   THE WITNESS:     Okay.

 21                   (Flute played.)

 22                   MS. LEPERA:      objection, Your Honor.

 23    BY MR. ROSS:

 24    Q.     You played those with the repeat?

 25    A.     I played the -- that phrase twice.


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  1    Q.     Okay.

  2                   Okay.   Now, what we're going to do is listen to Big

  3    Pimpin, Exhibit 58, track 14, Mr. Barnes.

  4                   (Big Pimpin played.)

  5    BY MR. ROSS:

  6    Q.     You mentioned that those first four measures --

  7                   Play the first four measures again, please.

  8    A.     Here is one occurrence of it.

  9                   (Flute played.)

 10                   THE WITNESS:    Do it again.

 11                   (Flute played.)

 12    BY MR. ROSS:

 13    Q.     You mentioned those were repeated over and over again.

 14                   How many times were they repeated in the song Big

 15    Pimpin?

 16    A.     You know, I believe over 35 times.

 17    Q.     And in your view, do those four measures of Hamdy's song

 18    comprise the main theme of Big Pimpin?

 19                   MS. LEPERA:    Objection, Your Honor.

 20    BY MR. ROSS:

 21    Q.     Have you analyzed the music of Big Pimpin?

 22    A.     Yes.

 23    Q.     Can you tell us what the main theme of the music is.

 24    A.     The entire composition is structured around the first four

 25    measures of the song Khosara Khosara.         This is the template


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  1    upon which everything else is mapped around.

  2                MS. LEPERA:     Move to strike, Your Honor.

  3                THE COURT:     I'm going to strike the testimony.     It

  4    exceeds the scope of the in limine motion.

  5                THE WITNESS:     I didn't understand.

  6                THE COURT:     I'm striking your answer.

  7                Counsel will rephrase the question.

  8                MR. ROSS:     I'm afraid I'm a little at a loss, Your

  9    Honor.    So maybe we can come back to this after a break?

 10                THE COURT:     I think that would be a good idea.

 11                MR. ROSS:     Because I'm not sure exactly what the

 12    limit is of what I can ask him.

 13                THE COURT:     He certainly can testify about the

 14    similarities between 133 and Big Pimpin.

 15    BY MR. ROSS:

 16    Q.     So can you tell us about the similarities of 133 and Big

 17    Pimpin.

 18    A.     Absolutely.

 19    Q.     Please do.

 20    A.     Can we get 133 up again.

 21                The first four notes are there so this is the same.

 22    The next four notes -- the next measure, 1, 2, 3, 4, 5, 6,

 23    those notes are there with the following understanding:          That

 24    as a musician, if I were to only play the notes as they were

 25    written, other people would say to me that I am a beginning


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  1    musician, and I do not know my art --

  2                MS. LEPERA:     This is going beyond the --

  3                THE WITNESS:     In other words, the notes on a page are

  4    a skeletal realization.       If I play those notes on a Nay, I have

  5    to play them rendering like a Nay player.        If I play -- notes

  6    on the 'Ud, I will render them differently because I am a 'Ud

  7    player.    The way to understand this --

  8                MR. ROSS:     Let me stop you.

  9                MS. LEPERA:     Move to strike, Your Honor.

 10                THE COURT:     I'm going to strike the answer beyond

 11    what he said about the notes that -- the similarity between the

 12    notes.

 13                MR. ROSS:     Okay.

 14    Q.     Here on the music, Dr. Marcus, it says -- you've told

 15    us -- it says right here a Nay is supposed to play this.

 16    A.     That's exactly what happens.

 17    Q.     And that's the instrument you're playing it on?

 18    A.     Yes, that's correct.

 19    Q.     And so as a Nay player would play it in Egypt, what do

 20    these notes tell us?

 21    A.     This is exactly --

 22                MS. LEPERA:     Objection --

 23                THE COURT:     Overruled.

 24                You may answer that question.

 25                THE WITNESS:     This is my comment, that a Nay player,


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  1    seeing those notes, would play them exactly as we heard them in

  2    the Big Pimpin recording; this is the same composition.

  3                   MS. LEPERA:    Your Honor, move to strike.

  4                   THE COURT:    I am going to strike the answer because

  5    it just doesn't answer the question, and if necessary we're

  6    going to have to take a recess; but Dr. Marcus is going to have

  7    to live within the four corners of the court's ruling.

  8    BY MR. ROSS:

  9    Q.     Okay.

 10                   So we're talking about this -- that this phrase as

 11    written with the instruction that it's played by an Egyptian

 12    Nay Flute in Egypt --

 13    A.     Correct.

 14    Q.     -- and how do you understand that to come out?

 15    A.     You know, this is my competency.       This is what I teach on

 16    a daily basis at the university.         I teach Nay players how to

 17    perform, and I can show you all the ways that it would be

 18    appropriate to render that single measure.         If I played it

 19    without any sort of any ornamentation, I would not be allowed

 20    to come to the microphone because I am a beginning student.

 21                   MS. LEPERA:    Objection, Your Honor.   We're dealing

 22    with a copyright manifested in 133, not the witness's

 23    explanation of --

 24                   THE COURT:    I agree with you, but I'm going to let

 25    this answer stand.


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  1                 MR. ROSS:     Just for clarification, Your Honor, the

  2    copyright is not in any piece of music that's written, it's in

  3    the song.     It wasn't submitted in written form to the copyright

  4    office.

  5                 MS. LEPERA:     Your Honor --

  6                 THE COURT:     Cannot have this discussion because that

  7    is completely contrary to the case law, and we've made rulings,

  8    and I'm just not going to sit and do battle over these things.

  9                 MR. ROSS:     Okay.

 10    Q.     Let's move on, Dr. Marcus.         Let's move to Exhibit 1, which

 11    is the Big Pimpin MTV video.

 12                 Have you watched that?

 13    A.     Yes, I have.

 14    Q.     Does it contain the same arrangement of Big Pimpin that we

 15    just heard?

 16    A.     Yes, it does.

 17                 MS. LEPERA:     Objection.     There is a question of

 18    whether you're asking about Exhibit 58 or about 133?            What

 19    exhibit are you asking about?

 20                 THE COURT:     I think he's asking -- what are you

 21    asking?     Whether it contains the same version of Big Pimpin

 22    that you just heard?

 23                 MR. ROSS:     Just the Big Pimpin.     We've only heard

 24    Exhibit 58; that's all we've heard.

 25                 THE COURT:     That's what I thought.     Okay.   So that's


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  1    fine.

  2    BY MR. ROSS:

  3    Q.      Does it contain the same arrangement of Big Pimpin that we

  4    just heard?

  5    A.      Yes, it does.

  6                    MR. ROSS:    Move this into evidence as Exhibit 1, Your

  7    Honor.

  8                    MR. BART:    Objection, Your Honor.

  9                    THE COURT:    You're moving to admit?

 10                    MR. ROSS:    The Big Pimpin MTV video.

 11                    THE COURT:    I'm going to receive it.

 12                    (Plaintiff's Exhibit 58 received in evidence.)

 13    BY MR. ROSS:

 14    Q.      Okay.

 15                    An to verify that it has the same version, I'd like

 16    to ask Mr. Barnes to play just the first minute of it, maybe

 17    even     less.

 18                    (Big Pimpin played.)

 19                    MR. ROSS:    Thank you.

 20    Q.      Exhibit 4 is the Jay-Z CD Volume 3:       Life and Times of S.

 21    Carter.

 22                    Have you listened to Big Pimpin on that CD?

 23    A.      Yes, I have.

 24    Q.      Same arrangement?

 25    A.      Yes.


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  1    Q.     Incorporates the same four measures of Hamdy's song

  2    throughout?

  3    A.     Throughout.

  4    Q.     Exhibit 55, the Jay-Z unplugged CD from 2001, have you

  5    listened to that?

  6    A.     Yes, I have.

  7    Q.     Does that incorporate the -- the same -- the first four

  8    measures of Hamdy's song throughout?

  9    A.     Yes, it does.

 10    Q.     Exhibit 56, the Jay-Z Linkin Park Collision Course CD, Big

 11    Pimpin paper cut is track two.

 12                Have you listened to that?

 13    A.     Yes, I have.

 14    Q.     Does that incorporate the same first four measures of

 15    Hamdy's song throughout?

 16    A.     Yes, it does.

 17                MR. ROSS:   And just to let the jury hear what we're

 18    talking about there, I'm going to ask Mr. Barnes to play the

 19    beginning of track two.

 20                (Big Pimpin played.)

 21    BY MR. ROSS:

 22    Q.     Thank you.

 23                New subject:   Are the first four measures of Hamdy's

 24    song significant?

 25    A.     Yes, they are the hook of the song.      Yes.


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  1    Q.     Okay.

  2                   Tell us about why they're significant.

  3    A.     Well, I think we all understand the idea that there's a

  4    part of a song that we know well that we feel is the -- the

  5    most important part of the -- the hook, the thing that calls it

  6    to mind.       I think we all have a sense that, oh, just as soon as

  7    you hear it, you know where you are; it pulls you in.         This is

  8    the case with these four measures.

  9    Q.     Okay.     In those first four measures, I know you told us

 10    they're repeated at the beginning of the song; they're played

 11    twice.     Are they repeated elsewhere in Hamdy's song?

 12    A.     Yes, they are repeated again as an introduction to the

 13    first version.

 14    Q.     Okay.

 15                   Have you had the chance to gauge people's reactions

 16    in Egypt when they hear this song Khosara Khosara?

 17                   MS. LEPERA:    Objection, Your Honor, irrelevant.

 18                   THE COURT:    Sustained.

 19                   I'm not clear why the reaction of people in Egypt is

 20    relevant.       That's my problem.

 21    BY MR. ROSS:

 22    Q.     Have you had the chance to determine whether people in

 23    Egypt recognize or appear to recognize the song by the

 24    introduction alone?

 25    A.     Yes, I have.


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  1                   MS. LEPERA:    Same objection, Your Honor.

  2                   THE COURT:    Overruled.

  3                   He may answer that question.

  4    BY MR. ROSS:

  5    Q.     What have you observed?

  6    A.     People immediately recognize the song.       When they hear

  7    these measures, they totally light up because they're lively,

  8    dynamic.

  9    Q.     In your view, then, does Big Pimpin incorporate what you

 10    would characterize as a significant part of Hamdy's song?

 11    A.     Absolutely.

 12    Q.     Okay.

 13                   One last point:    I'm going to hand you what's been

 14    marked for identification as Exhibit 127, which is a cassette,

 15    1960 Abdel Halim Hafiz cassette tape.

 16                   May I approach?

 17                   THE COURT:    You may.

 18    BY MR. ROSS:

 19    Q.     What I'd like you to do is tell us if you've seen this

 20    before.

 21    A.     Yes, I have.     This is a cassette of Abdul Hali Hafiz's.

 22    This is his picture on the cover.

 23    Q.     So that's the man who sings the song in the movie Khosara

 24    Khosara?

 25    A.     That is the case.


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  1    Q.      Is that tape publicly available in Egypt?

  2    A.      Yes, it is.

  3    Q.      Have you listened to it?

  4    A.      Yes.

  5    Q.      Is Khosara Khosara on there?

  6    A.      Yes, it is.

  7                    MS. LEPERA:    Objection.

  8                    THE COURT:    Okay.   I don't know why it's relevant

  9    but . . .

 10                    MS. LEPERA:    Also doesn't distinguish between --

 11                    THE COURT:    I get it.

 12                    Why don't you just move on.

 13    BY MR. ROSS:

 14    Q.      Have you read the credits on his tape as to who wrote the

 15    song?

 16    A.      Yes, I have.

 17    Q.      Okay.

 18                    And they're in Arabic?

 19    A.      Of course it's in Arabic.

 20    Q.      Who's credited as the composer on there of Khosara

 21    Khosara?

 22    A.      The composers are listed together, and the second composer

 23    listed is Baligh Hamdy.

 24    Q.      Thank you.

 25                    No further questions at this time.


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  1                   THE COURT:   Okay.

  2                                CROSS-EXAMINATION

  3    BY MS. LEPERA:

  4    Q.     Good morning, Dr. Marcus.

  5    A.     Good morning.

  6    Q.     You're being paid for your services -- correct -- by the

  7    plaintiff in this case?

  8    A.     Yes, I am.

  9    Q.     Okay.

 10                   You don't have any professional experience in

 11    analyzing hip hop music, correct?

 12    A.     That's correct.

 13    Q.     In fact, you have no professional experience analyzing any

 14    type of popular Western music, correct?

 15    A.     Just in my classes we deal with Western popular music.

 16    Q.     Okay.

 17                   Would you, Mr. Duval, please post Exhibit -- page 43,

 18    lines 13 to 15.

 19                   Dr. Marcus, you remember being deposed in this case?

 20    A.     Uh-huh.

 21    Q.     Do you remember you were asked a series of questions and

 22    answers under penalty of perjury in this case?

 23    A.     Yes.

 24    Q.     Okay.

 25                   Would you please play page 43, lines 13 to 15 of


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  1    Dr Marcus' testimony.

  2                   MR. ROSS:     May we have a moment, Your Honor?

  3                   THE COURT:     Yes.

  4                   MR. ROSS:     Forty-three, lines --

  5                   MS. LEPERA:     13 to 15.

  6                   MR. ROSS:     I don't think he contradicts his answer.

  7                   THE COURT:     If we're looking at 40 -- I'm looking at

  8    42; that's my problem.          Forty-three, 13 through 15.

  9                   She may play it.

 10                   (Video deposition played:)

 11                   "Q    Do you have any professional experience

 12                   analyzing any type of pop Western music?

 13                   "A    No."

 14                   THE WITNESS:     This is what I just said to you.

 15                   MS. LEPERA:     Excuse me.

 16    Q.     You've transcribe transcribed music before; is that

 17    correct, prepared sheet music?

 18    A.     I transcribed many, many, many hundreds of compositions,

 19    many hundreds.

 20    Q.     Okay.

 21                   In this case, sir, you didn't transcribe any of the

 22    music in Big Pimpin, correct?

 23    A.     No, I did not.

 24    Q.     I believe this is clear, but to be precise:        You have no

 25    personal knowledge about the creation of the composition


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  1    Khosara Khosara, correct?

  2    A.     Personal knowledge?

  3    Q.     Correct.

  4    A.     Meaning -- meaning the time it happened or -- I was five

  5    years old at the time.       Is that what you're referring to?

  6    Q.     So the answer is you have no personal knowledge, correct?

  7    A.     Of that period, right.     I think if that's what you're

  8    referring to, yes, I have no knowledge of that period of time.

  9    Q.     My question is very simple, sir:     Is it fair to say you

 10    have no personal knowledge of the writing of Khosara Khosara?

 11    A.     The active writing -- I'm a scholar of the composition.

 12    So -- but if that's not what you're referring to, then, yes, I

 13    have no personal knowledge of the writing of it back in the

 14    50s.

 15    Q.     And you never communicated with Baligh Hamdy, correct?

 16    A.     That's correct.

 17    Q.     Never corresponded with Baligh Hamdy, correct?

 18    A.     Absolutely correct.

 19    Q.     Never communicated with Hafiz, famous singer we've been

 20    talking about?

 21    A.     I wish I had.     No, I did not.

 22    Q.     And you have no personal knowledge of how many of the

 23    recordings of any of the Khosara Khosara -- of Khosara Khosara

 24    composition, Exhibit 133, was created, correct?

 25    A.     Right.


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  1    Q.     You were never in any recording studios, correct?

  2    A.     I have been in recording studios.

  3    Q.     For that purpose, watching the creation of a recording of

  4    Khosara Khosara.

  5    A.     That's correct.

  6                  MS. LEPERA:     Can we please have 133 up on the screen.

  7                  Can we have the full sheet music, Scott.

  8                  THE WITNESS:     I'm sorry.

  9                  MS. LEPERA:     I was talking to my technician,

 10    Dr. Marcus.      Thank you.

 11    Q.     How many lines of music are in Khosara Khosara, 133?

 12    A.     How many lines of music?

 13    Q.     Yes, how many lines?

 14    A.     Are you asking me to count them right now?

 15    Q.     Yes.

 16    A.     Fifteen, and it's not clear --

 17    Q.     Fifteen lines?

 18    A.     Am I correct?

 19    Q.     I'm asking you, sir; you're the expert.

 20    A.     I see 15 and a note, an additional note.

 21    Q.     How many measures are in Khosara Khosara, Exhibit 133?

 22                  Do you know what a measure is?

 23    A.     Yes, of courses I know what a measure is.

 24    Q.     You've been talking about the first four measures of

 25    Khosara Khosara with Mr. Ross, correct?


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  1    A.     This is my specialty.

  2    Q.     Okay.

  3                   Can you tell me how many measures are in Exhibit 133

  4    that represent the song Khosara Khosara.

  5    A.     You want me right now to count these measures?

  6    Q.     If you have not done so, yes.

  7    A.     Okay.

  8                   Am I supposed to count repeats?

  9    Q.     However you would do it, sir, consistent with your

 10    methodology.

 11    A.     Seventy-four, I believe.

 12    Q.     Seventy-four measures.

 13                   And does that count the repeats, sir?

 14    A.     Some of the repeats are written out, and some of them are

 15    not written out.       I did not count the ones that are not written

 16    out with the -- they have repeat signs.

 17    Q.     So there's four measures out of 74 that you were

 18    discussing on your direct, correct?

 19    A.     That's correct.

 20    Q.     Okay.

 21                   And can you play this whole song for us today?

 22    A.     I'm not ready to do that.

 23    Q.     Why is that?

 24    A.     It's been a long time.     This transcription is totally

 25    natty; it's not too readable --


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  1    Q.     Sir, excuse me, but you testified on direct -- correct me

  2    if I'm wrong -- that you've played the composition Khosara

  3    Khosara in your ensembles, and you are an expert in the

  4    composition Khosara Khosara, correct?

  5    A.     It was 2008 when I had competency in running through it as

  6    a performer.

  7    Q.     You can't play it for us today?

  8    A.     You know, you have to understand as a performer in 2015,

  9    if I play something over and on over again in 2008, I was asked

 10    to play the first three staffs.       Needless to say, I worked it

 11    up to have my competency.

 12    Q.     Sir, a simple yes or no.

 13                   You're not able to play it for us today?

 14    A.     No, I'm not ready to play it for you today.

 15    Q.     Okay.

 16                   But you have testified, have you not, that the four

 17    measures out of 74 are the most important, but yet we can't

 18    have a recitation of the rest of it.

 19    A.     That's correct.

 20    Q.     Okay.

 21                   So there's --

 22                   Turning now to the first four lines, please, Scott --

 23    first four bars, excuse me, Your Honor, the first line of 15

 24    lines of music.       Okay.

 25                   Measure one, Mr. -- Dr. Marcus -- excuse me --


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  1    there's four notes that repeat, correct?

  2    A.     That's correct.

  3    Q.     Okay.

  4                   And in the third measure, there's four notes that

  5    repeat, correct?

  6    A.     That's correct.

  7    Q.     Okay.

  8                   Are you familiar with the word "tonic"?

  9    A.     Yes, I am.     I am a professor of music.

 10    Q.     And there's a scale in Western music with seven steps,

 11    correct?

 12    A.     There is a scale?

 13    Q.     Yes.

 14                   What does the tonic in a scale represent?

 15    A.     It's the first note of a scale.

 16    Q.     Okay.

 17                   That tonic of this particular key is what the first

 18    four notes represent, correct?

 19    A.     That's correct.

 20    Q.     Okay.

 21                   And with respect to the third measure, there's four

 22    notes repeated again as well, correct?

 23    A.     That's correct.

 24    Q.     And that's on one note lower than the tonic, correct?

 25    A.     That's called the leading tone.


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  1    Q.     Okay.     The leading tone.

  2                   Now, there's -- in measures two and four, there's six

  3    notes in two and six notes in four, correct?

  4    A.     I see seven in that measure.     Okay.

  5    Q.     Did you give a report in this case, sir?

  6    A.     Yes, I did.

  7    Q.     Okay.

  8                   Did you not say there were six notes in measure two

  9    and six notes in measure four?

 10    A.     We're talking about -- I mean, look in front of us here.

 11    There are seven notes.       The first note is -- is the end of

 12    measure three.       I think that's the issue here.

 13    Q.     My question is very simple, sir:     You gave a report in

 14    this case, correct?

 15    A.     Yes.

 16    Q.     Did you say there were six notes in measure two and six

 17    notes in measure four?

 18    A.     Yeah, we can look for the exact wording that I said.

 19    You'll have to give me my exact wording.

 20    Q.     Okay.

 21                   Are you certain that there are six notes in measure

 22    two, 133?

 23    A.     One, two, three, four, five, six -- there are six notes

 24    preceded by a rest.

 25    Q.     Okay.


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  1                   So is there any doubt there's six notes in measure

  2    two?

  3    A.     There is absolutely no doubt whatsoever.

  4    Q.     Okay.

  5                   Measure four?

  6    A.     Uh-huh.

  7    Q.     How many notes are in measure four?

  8    A.     We're stuck on a point here, but it's -- I think the way

  9    to understand --

 10    Q.     Are there not six notes in measure four, yes or no?

 11    A.     Do you want me to ignore the first which makes it seven --

 12    Q.     Can I have an answer to my question.

 13    A.     Okay.

 14                   On the physical page in front of us, there are seven

 15    notes.

 16    Q.     Okay.

 17    A.     I understand what you're saying, that the --

 18                   MS. LEPERA:     Please put up Exhibit 190, page eight.

 19                   Can we get into it?

 20                   THE CLERK:     Exhibit 190.

 21                   MS. LEPERA:     Dr. Marcus' report.

 22                   MR. ROSS:     I don't think this is in evidence.

 23                   THE CLERK:     It's not.

 24                   THE COURT:     I don't think you want to put it on

 25    the --


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  1                   MS. LEPERA:     That's fine.   I can ask him the question

  2    first; then you can look at Exhibit 190, Mr. Ross, page eight.

  3    Q.     I'm going to read from your report, page eight, Dr.

  4    Marcus, if you could tell me --

  5                   THE COURT:     It's not in evidence.   The question is

  6    why doesn't he look at 190, look at it, identify it.

  7                   MS. LEPERA:     Fine.

  8                   Put 190 in front of the witness, please.

  9    Q.     Can you turn behind yourself, Mr. -- Dr. Marcus and look

 10    at 190.

 11                   THE COURT:     There are volumes there.   Just a minute.

 12    My courtroom deputy will assist you.

 13                   THE CLERK:     What page?

 14                   MS. LEPERA:     Eight.

 15                   THE CLERK:     Exhibit 190, page eight is before the

 16    witness.

 17    BY MS. LEPERA:

 18    Q.     Dr. Marcus, did you author this report, which is

 19    Exhibit 190?

 20    A.     Yes, I did.

 21    Q.     Okay.

 22                   Do you have any objection to us proffering this?

 23                   MR. ROSS:     No objection.

 24    BY MS. LEPERA:

 25    Q.     Turn to page eight.


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  1                   I offer it, Your Honor.

  2                   Turn to page eight.   Did you, in fact, not say,

  3    quote, "The character of the muqadimma is firmly established

  4    with the first four measures and alteration between orchestral

  5    sound and a small ensemble sound featuring a solo and the

  6    flute.    The orchestra, as prominently featured in the violin

  7    section, plays a four-fold repetition of the tonic note after

  8    which the Nay and a few other instruments respond in the octave

  9    with a six-note phrase that begins and ends on the tonic.          The

 10    orchestra then returns with four-fold repetition of the note

 11    below the tonic, the leading tone, after which the Nay leads a

 12    small group in slightly altered six-note response after ending

 13    on a tonic note in the octave."

 14                   Did you write that, Dr. Marcus?

 15    A.     I did.

 16    Q.     Okay.

 17                   Now, isn't it fair that you don't really know exactly

 18    what, if anything, Hamdy played on the 'Ud to his musicians?

 19    A.     That's correct.     I was five years old.

 20    Q.     Now, isn't it also fair to say there's a tremendous amount

 21    of improvisation that occurs in Arabic music?

 22    A.     Yes.     As I've said, there's a required amount of

 23    improvisation.

 24    Q.     Isn't it also true that Hamdy was known for incorporating

 25    traditional sounds of Egyptian folk music into his


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  1    compositions?

  2    A.     Yes, it's true.

  3    Q.     Traditional doesn't mean original to Hamdy, correct?

  4    A.     I think you're probably misunderstanding the original

  5    statement.

  6    Q.     Okay.

  7                   You understand the difference between a sound

  8    recording and a composition, do you not?

  9    A.     You know, I think the west, I understand.            In the Arab

 10    world, I don't think you understand -- with all due respect --

 11    the difference between sound composition and -- sound recording

 12    and composition.

 13                   MS. LEPERA:     Move to strike.

 14    Q.     Do you understand in the U.S. the difference between the

 15    composition and the sound recording?

 16    A.     I do but please note that I am a scholar of Arab music.

 17    Q.     You're not a scholar of Western music, correct?

 18    A.     That's true.

 19    Q.     Okay.     Thank you, Dr. Marcus.      Thank you.

 20                   No further questions.

 21                   THE COURT:     Okay.

 22                   Mr. Bart, do you have any questions?

 23                   MR. BART:     No.   Thank you, Your Honor.

 24                   THE COURT:     Redirect?

 25                   MR. ROSS:     Nothing further, Your Honor.


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  1                 THE COURT:     Dr. Marcus, thank you very much.        You may

  2    step down.

  3                 THE WITNESS:     Thank you very much.     If I can get a

  4    the little help here.

  5                 UNIDENTIFIED SPEAKER:        Your Honor, may I help?

  6                 THE COURT:     May be a good time for the morning

  7    recess.   Take ten minutes and come back as close to five to

  8    11:00 as possible.        Thank you.

  9                                    (Recess)

 10        (Proceedings held outside the presence of the jury:)

 11                 THE CLERK:     Counsel, are we ready for the jury?

 12                 MR. ROSS:     Yes, Your Honor.

 13                 MS. LEPERA:     Yes, Your Honor.

 14                       (Open Court - Jury Present)

 15                 THE COURT:     Who's next?

 16                 MR. ROSS:     One housekeeping matter:     At the beginning

 17    of my presentation yesterday, I read a list of a number of

 18    exhibits that I believed to be without objection.           The defense

 19    now agrees that they're all without objection; however, they're

 20    raising an objection to Exhibit 152, which was not contained in

 21    the pretrial conference order, but with the exception of that

 22    one, I believe they agree all can come into evidence.

 23                 THE COURT:     All right.

 24                 MR. STEINBERG:     That's correct, Your Honor.

 25                 THE COURT:     If you want to list them -- and let's put


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  1    a pin in 152 right now because we really should be doing this

  2    out of the presence of the jury.

  3                MR. ROSS:    Okay.

  4                Should I list them again at this point?

  5                THE COURT:     Please.

  6                MR. ROSS:    Eleven; 21; 31; 55 through 59; 154; 155;

  7    157; 204; 207; 208; 213; 214; 291; 292; 293.

  8                THE COURT:     All of those may be received.

  9                (Plaintiff's Exhibits 11; 21; 31; 55 through 59; 154;

 10    155; 157; 204; 207; 208; 213; 214; 291; 292; 293.)

 11                MR. ROSS:    With that, Your Honor, we call our next

 12    witness, which is Shawn Carter.

 13                THE COURT:     All right.

 14                (Witness sworn.)

 15                THE CLERK:     Please state your full name and spell it

 16    for the record.

 17                THE WITNESS:     Shawn Carter, C-a-r-t-e-r.

 18                THE CLERK:     You may proceed.

 19                THE COURT:     You may proceed.

 20                MR. ROSS:    Thank you, Your Honor.

 21          SHAWN CARTER; PLAINTIFF'S WITNESS, SWORN, TESTIFIED:

 22                             DIRECT EXAMINATION

 23    BY MR. ROSS:

 24    Q.     Good morning, Mr. Carter.

 25    A.     Good morning.


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  1    Q.     You're the recording artist that goes by the stage name of

  2    "Jay-Z," correct?

  3    A.     Correct.

  4    Q.     You're a defendant in this case.

  5                   You understand that, right?

  6    A.     Correct.

  7    Q.     Big Pimpin is one of the songs you perform, true?

  8    A.     True.

  9    Q.     You helped create the lyrics to Big Pimpin.       In fact, you

 10    created most of them, right?

 11    A.     I created my lyrics; I didn't create the featured

 12    performance.

 13    Q.     There are a couple other people who rap on the song, true?

 14    A.     Yes, who are not here today.

 15    Q.     Okay.

 16                   Now, let's start at -- by running through how this

 17    song Big Pimpin came to be, and let's start with some

 18    fundamentals.

 19                   To develop a new song, you generally don't write the

 20    music, correct?

 21    A.     Correct.

 22    Q.     You listen to music created by others until you find a

 23    piece that speaks to you, so to speak?

 24    A.     Sometimes, yes.

 25    Q.     Okay.


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  1                   And finding the right music can be a long, tedious

  2    process, agreed?

  3    A.     Yes, sometimes.

  4                   MR. ROSS:   Your Honor, I'd like to play a clip from

  5    Exhibit 57, which is a documentary film.        There's no objection

  6    to it; it's in evidence.

  7    Q.     But before I play it, Mr. Carter, you remember being

  8    involved in the creation of Fade to Black, right?

  9    A.     Yes.

 10    Q.     Okay.

 11                   Mr. Barnes, can you please play clip 57.

 12                   (Clip played.)

 13    BY MR. ROSS:

 14    Q.     When you find the right music, it's really something

 15    special for you, true?

 16    A.     Yes.

 17    Q.     In your own words, it's the "moment of discovery," right?

 18    A.     As an artist, yes.

 19    Q.     Let's go to the day that you created Big Pimpin.

 20                   You walked into a studio that day to see a producer

 21    named Tim Mosley, right?

 22    A.     Yes.

 23    Q.     This is Tim Mosley sitting here, right?

 24    A.     Yes.

 25    Q.     He goes by the name "Timbaland," true?


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  1    A.     Yes.

  2    Q.     And when you told him -- you kid around with him, kind of,

  3    but you told him he didn't have any good music anymore, right?

  4    A.     Yes.   Like a process of ours:    Like, I tease him a little

  5    bit; he tease me, and then we make something really good.

  6    Q.     He played you some tracks that day, correct?

  7    A.     Yes.

  8    Q.     But in your view, the tracks were just okay, right?

  9    A.     For me.

 10    Q.     Then you got your coat, and you were about to leave,

 11    correct?

 12    A.     Yes.

 13    Q.     Then he played you some Arabic music that became the basis

 14    for Big Pimpin, right?

 15    A.     Correct.

 16    Q.     And you turned around, took off your coat, said you were

 17    going to stay, right?

 18    A.     Correct.

 19    Q.     And you recorded most of Big Pimpin that day, true?

 20    A.     Yes.

 21    Q.     You knew you had something very special on your hands,

 22    right?

 23    A.     Well, at the beginning something that was special.

 24    Q.     You wrote an autobiography, true?

 25    A.     Yes.


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  1    Q.     Called Jay-Z Decoded?

  2    A.     It's not really an autobiography, it's a book called

  3    Decoded because it decodes rap lyrics.

  4    Q.     You're listed as one of the authors of this book, right?

  5    A.     Yeah, but I wouldn't classify it as an autobiography.

  6    Q.     You're the one in here talking in the book, right?

  7    A.     Yes.

  8                   MR. ROSS:    Your Honor, may I approach the witness

  9    just to show him this, please?

 10                   THE COURT:     Well, you may, if there's something you

 11    wanted him to look at specifically; otherwise, I think he's

 12    identified the book.

 13                   MR. ROSS:    Well, I'm going to read something to him

 14    from his book.

 15                   THE WITNESS:     You can read it from over there.

 16                   MR. ROSS:    Okay.

 17                   THE COURT:     I think he should show it to you first.

 18                   THE WITNESS:     Okay.

 19    BY MR. ROSS:

 20    Q.     This is the book, right?

 21    A.     Not the original, but yes.

 22    Q.     It's a copy of your book.

 23    A.     Well, it's the Second Edition.        The first one is all white

 24    with the Rorschach.         This is the late version.

 25    Q.     Okay.


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  1                  With that in mind, let me read to you a couple short

  2    parts from page 112:      "I knew that the next single off the

  3    album Big Pimpin was a gem, even if it wasn't a conventional

  4    single by any stretch of the imagination.        It didn't sound like

  5    anything else on the radio at the time, but I knew it was time

  6    to double down.      I rallied the troops, and I told my staff to

  7    get us on MTV's Making the Video, which hadn't been on a rap

  8    set before.      I got Hype Williams to direct it.    I'm notoriously

  9    tight with video budgets, but for Big Pimpin, I put out a

 10    million dollars.      We headed to Trinidad for Carnival.     Then

 11    booked a mansion in Miami.      We got the biggest yacht we could

 12    find and hired hundreds of girls from the top agencies.          We

 13    went Vegas with the" -- I'm saying because it because it's in

 14    the book -- "niggers on that one, but to me it felt like a sure

 15    bet.    When we released the single for Big Pimpin in the first

 16    week of June 2000, it made up for everything.        It was my

 17    biggest single up to that point."

 18                  Those were your words, right?

 19    A.     Yes.

 20    Q.     You knew you had a gem, correct?

 21    A.     Well, can I give a context?

 22    Q.     Well, you're free to say other things when your attorneys

 23    ask you questions.

 24    A.     I'm asking you:    Can I give the context?

 25    Q.     Not right now.


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  1    A.     Okay.

  2    Q.     Whatever your attorneys think is important, they'll ask

  3    you to bring it out.

  4    A.     I'm speaking to you.

  5    Q.     Okay.     New subject:    The music to Big Pimpin.

  6                   Let's talk about whether or not you've been lax or

  7    even reckless about making sure you had the right to use that

  8    music --

  9                   MR. BART:    Objection, Your Honor.    This isn't a

 10    question, this is a speech.

 11                   THE COURT:    It really is a speech.

 12                   MR. ROSS:    It's just the subject.

 13                   THE COURT:    Are you reading from something or --

 14    because the form of the question is objectionable.

 15    BY MR. ROSS:

 16    Q.     Let me ask this question, background question:         You don't

 17    know how many times you've been sued for copyright

 18    infringement --

 19                   MR. BART:    Objection, Your Honor.

 20    BY MR. ROSS:

 21    Q.     -- correct?

 22                   THE COURT:    Sustained.   That's covered by my prior

 23    orders.    What's happened in other cases is not relevant here.

 24    We're talking about this case.

 25                   MR. ROSS:    One moment, please, Your Honor.


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  1                 It's not my understanding that was covered by any

  2    order, but if it was, I apologize.

  3                 THE COURT:   Okay.

  4    BY MR. ROSS:

  5    Q.     Let's go back to the day Big Pimpin was created.

  6                 You didn't know where Timbaland got the music from he

  7    played for you that day, correct?

  8    A.     Correct.

  9    Q.     You didn't ask him, right?

 10    A.     No.

 11    Q.     And you've never asked him, true?

 12    A.     No.

 13    Q.     That is true, that you've never asked him?

 14    A.     No, I didn't ask him, no.

 15    Q.     Even at the time Big Pimpin was released, you still didn't

 16    know who wrote the music, right?

 17    A.     Correct.

 18    Q.     And at that time, though, you were aware that, at least in

 19    certain instances, the law requires you to get permission from

 20    the composer to use his or her music, right?

 21    A.     Timbaland is known for not using samples.

 22    Q.     I'm talking about what you were aware of.

 23    A.     I'm telling you -- yes, exactly.

 24    Q.     You were aware that the law requires you in certain

 25    instances to get permission from the composer to use their


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  1    music, right?

  2    A.     Oh, that's not what I do; I make music.

  3    Q.     I'm sorry.    I didn't hear the answer.

  4    A.     It's not what I do; I make music.

  5    Q.     Let me read to you from your deposition.         You recall

  6    having your deposition taken about one year ago, correct?

  7    A.     Yes.

  8    Q.     I'm going to read from page 71, line 21, through 72, line

  9    three.

 10                  THE COURT:     Hang on.

 11                  MR. BART:     What lines again, please?

 12                  MR. ROSS:     Seventy-one, line 21, through 72, line

 13    three.

 14                  THE COURT:     All right.   You may.

 15                  MR. ROSS:     (Reading)

 16                  "Q    But at the time that you released Big

 17                  Pimpin, were you aware that in certain instances

 18                  the law requires you to get permission from the

 19                  musical composer of the song that is sampled?

 20                  "A    Yes."

 21    Q.     At the time you released Big Pimpin, you did not think it

 22    was Timbaland's responsibility to make sure that the music was

 23    clear for use, true?

 24    A.     Again, I didn't think they were sampling it at all.

 25    Q.     I'm sorry.    You didn't understand?


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  1    A.     I didn't think there was a sampling, and so it wouldn't be

  2    no reason for me to think of clearing the song that had no

  3    sample.

  4    Q.     You knew there was music in it, right?

  5    A.     Yes.

  6    Q.     You knew you hadn't written the music, true?

  7    A.     Yes.

  8    Q.     You didn't think it was Timbaland's responsibility to make

  9    sure the music was clear for use, did you?

 10    A.     Again, Timbaland presented me with a tract.       I thought it

 11    was the track that Timbaland created.       So I didn't even think

 12    about a sample.

 13    Q.     Let me read to you from page 72, line 23, through 73, line

 14    three, and I'm going to go down to 73, line 11.

 15                  THE COURT:    Go ahead.

 16                  MR. ROSS:    (Reading)

 17                  "Q    Do you think it was his responsibility as

 18                  the producer to make sure that the music that he

 19                  provided you did not violate someone else's

 20                  rights?

 21                  "A    I didn't even think about it.

 22                  "Q    As you sit here today, do you think it was

 23                  Timbaland's responsibility as the producer of

 24                  the music to make sure that any sample he used

 25                  was clear and free of any violation?


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  1                  "A    I don't know."

  2    Q.     Before releasing Big Pimpin, you did no investigation

  3    yourself to determine whether you had the right to use the

  4    music, correct?

  5    A.     Correct.

  6    Q.     And you're not aware of anyone else who investigated on

  7    your behalf whether you had the right to use the music, true?

  8    A.     Correct.

  9    Q.     Let's go about this a different way.

 10                  We looked at this, this morning.    This is from

 11    Exhibit 58, your album, The Hits Collection, Volume 1.

 12                  Do you see where it says on the line there "Big

 13    Pimpin"?

 14    A.     Yes.

 15    Q.     And it says, "Contains elements of Khosara Khosara, used

 16    courtesy of Arc Music."

 17                  Do you see that?

 18    A.     Yes.

 19    Q.     At the time of your deposition, you had no idea who owned

 20    the right to Khosara Khosara, true?

 21    A.     Correct.

 22    Q.     And you'd never done any investigation to determine who

 23    owned the rights to Khosara Khosara, right?

 24    A.     Me personally?

 25    Q.     Yes.


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  1    A.     No.

  2    Q.     And at the time of your deposition, you had no

  3    understanding or belief as to whether or not you had a license

  4    to use the music composition Khosara Khosara, right?

  5    A.     Well, there's a number of things that occurred, and at

  6    some point, there was a claim bought, and then it was cleared

  7    up, and the rights were granted.

  8    Q.     Let me read to you from your deposition, page 27, line

  9    seven through 12.

 10                  "Q    Do you have any understanding or belief as

 11                  to whether or not you have a license to use the

 12                  musical composition Khosara Khosara?

 13                  "A    I don't know."

 14                  Let's talk about this lawsuit, the one that brings us

 15    here today.

 16    Q.     Are you aware that it was filed in 2007?

 17    A.     Yes.

 18    Q.     That's eight years ago now, true?

 19    A.     Correct.

 20    Q.     But at the time we took your deposition last year, after

 21    seven years, you didn't know the name of the plaintiff, did

 22    you?

 23    A.     No.

 24    Q.     And you'd never heard of Beligh Hamdy, right?

 25    A.     No.


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  1    Q.     You didn't know the name of the musical composition that

  2    the plaintiff claimed was being used in Big Pimpin, true?

  3    A.     True, correct.

  4    Q.     New subject:     You've not personally -- at least at the

  5    time of your deposition, you hadn't personally reached any

  6    conclusion as to whether Big Pimpin violated the plaintiff's

  7    rights in this case, true?

  8    A.     No.

  9    Q.     It's not true, or it is true?

 10    A.     No.    Because, again, you're asking questions, but over a

 11    time period, things, happen different things happen.         You're

 12    asking very narrow questions.

 13    Q.     Let me read you from your deposition page 25, line 21

 14    through 26, line three.

 15                  "Q    Have you personally reached any conclusion

 16                  as to whether the performance of Big Pimpin

 17                  violates plaintiff's copyrights in this case?

 18                  "A    No."

 19                  Same answer.

 20                  Now, you've used Big Pimpin in quite a number of

 21    documentary film, right?

 22    A.     Yes.

 23    Q.     You've used it in Volume 3, The Life and Times of S.

 24    Carter, released in 1999, correct?

 25    A.     Correct.


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  1    Q.     Jay-Z Unplugged, released in 2001, right?

  2    A.     Correct.

  3    Q.     Jay-Z Linkin Park Collision Course, released in 2004,

  4    correct?

  5    A.     Correct.

  6    Q.     Fade to Black, which I guess had a theatrical release at

  7    the end of 2004 and released as a DVD in 2005, correct?

  8    A.     Correct.

  9    Q.     And Jay-Z The Hits Collection Volume 1, released in 2010,

 10    correct.

 11    A.     Correct.

 12    Q.     And you continued to sell those CDs and that film, right?

 13    A.     Correct.

 14    Q.     Even though you were sued eight years ago, right?

 15    A.     Correct.

 16    Q.     Even though you hadn't reached any conclusions as to

 17    whether Big Pimpin violated plaintiff's rights, right?

 18    A.     Well, we were licensed to use the song so . . .

 19    Q.     Let's talk about live performance.

 20                Since the song Big Pimpin was released, you can't

 21    think of any show where you didn't perform it, right, live?

 22    A.     I performed a number of songs.

 23    Q.     We're just talking about Big Pimpin.

 24    A.     I have no idea.

 25    Q.     And --


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  1    A.     I have no idea how many concerts I did with or without it;

  2    I don't keep track of that number.

  3    Q.     Let me ask you this:   While continuing to perform Big

  4    Pimpin, you don't even think about whether or not the

  5    plaintiff's claims here have any merit, true?

  6    A.     I was under the understanding we were licensed to use the

  7    music.

  8    Q.     Let me read to you from your deposition, page 29, line six

  9    through 14.

 10                "Q     So even though the plaintiff's claim in

 11                this case may be a hundred percent meritorious,

 12                you went ahead and performed that song at the

 13                Global Citizens event, true?

 14                "A     I didn't -- I didn't even think about it."

 15                And you're not the at all concerned that the song Big

 16    Pimpin may violate someone else's rights, true?

 17    A.     We were licensed to use the song so not true.

 18    Q.     Let me read to you from your deposition, page 25, lines 15

 19    through 20.

 20                "Q     Have you ever been concerned that the song

 21                Big Pimpin may violate someone else's rights?

 22                "A     No."

 23                Let me read to you another part about -- from your

 24    book, Jay-Z Decoded, at pages 110 and 111.

 25                "Q     I'll preface it with this:     When someone


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  1                 violates your rights, by, for example, selling

  2                 bootlegged copies of your CDs, you're very

  3                 concerned, aren't you?"

  4                 MR. BART:    Objection, Your Honor.

  5                 THE COURT:     I think the question is appropriate.

  6                 MR. BART:    We're going into an area that is very

  7    inappropriate.     I'm just flagging it in advance.

  8                 THE COURT:     Well, this question, I think, may be

  9    answered.     We'll see where we go next.

 10                 THE WITNESS:     Rephrase your question.

 11    BY MR. ROSS:

 12    Q.     When someone violates your rights, you're very concerned,

 13    right?

 14    A.     When someone takes something from me without paying for

 15    it, yes.

 16    Q.     Yeah, sells bootleg copies of your CDs?

 17    A.     Yeah, I wouldn't like that.

 18    Q.     Let me read to you about an event from --

 19                 MR. BART:    Your Honor --

 20    BY MR. ROSS:

 21    Q.     --   your autobiography.

 22                 MR. BART:    May we have a sidebar, please.

 23                 THE COURT:     Yes.

 24                     (Proceedings held at sidebar:)

 25                 THE COURT:     You don't need to do that.   He already


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  1    admitted he'd be very concerned.

  2                  MR. ROSS:     He says he went into a black rage.

  3                  THE COURT:     That's interesting, but the answer is no,

  4    you may not read it.         It's just too prejudicial.    It doesn't

  5    solve the problem.

  6                  MR. ROSS:     Can I ask him about black rage?

  7                  THE COURT:     No.

  8                        (Open Court - Jury Present)

  9    BY MR. ROSS:

 10    Q.     New subject:       Let's talk about changing a song without the

 11    composer's consent.         You personally don't want people changing

 12    your songs without your consent, true?

 13    A.     I think music is an expression, and people interpret music

 14    different, and I pretty much clear almost every request made to

 15    me.

 16    Q.     I'm not sure what that means, but let me ask you to take a

 17    look at what's been marked for identification as Exhibit 69.

 18    And it's -- I opened it.           It's right next to you to the right.

 19    It appears to be a publishing contract between you and EMI

 20    Blackwood Music, dated April 1st, 1997.

 21                  Do you have that in front of you?

 22    A.     Yes.

 23    Q.     If you go to page --

 24    A.     Like April Fool's Day, right?

 25    Q.     Right.


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  1    A.      Yeah.

  2    Q.      And if you go to page 23, that's your signature there,

  3    true?

  4    A.      I don't see 23.

  5    Q.      You have to look at the bottom where it says,

  6    "Exhibit 69-" and then the last one is "69-23."

  7    A.      Got it.

  8                    Yes.

  9                    MR. ROSS:    Move this into evidence as Exhibit 69.

 10                    THE COURT:    It will be received.

 11                    (Plaintiff's Exhibit 69 received in evidence.)

 12    BY MR. ROSS:

 13    Q.      Let me just show the jury what we're looking at here.

 14    Here's the first page where it says, "Agreement entered into as

 15    of April 1st, 1997, between EMI Blackwood Music, Inc., and

 16    Shawn Carter."

 17                    You see that, right?

 18    A.      Yes.

 19    Q.      Now, we're going to go to page five, paragraph 6.2 --

 20    6.02, and do you see where it says, "With respect to your

 21    interest in the compositions" -- you understand the

 22    compositions are your songs, right?

 23    A.      Correct.

 24    Q.       -- "publisher" -- being EMI Blackwood -- "and its

 25    licensees will have the sole and exclusive right and license


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  1    during the term and retention period throughout the territory;

  2    two" -- you see that?

  3    A.     Correct.

  4    Q.     We'll look at the next page at one of the things they have

  5    the sole and exclusive right to do, subparagraph e:         "Make

  6    arrangements of, or otherwise adapt or change, any one or more

  7    of the compositions in any manner provided that publisher shall

  8    not make, or authorize the making of, material changes in the

  9    compositions without your consent."

 10                  Do you see that?

 11    A.     Yes.

 12    Q.     So by contract, people can't change your work without

 13    getting your consent, right?

 14    A.     Not as stated by the contract.

 15    Q.     Just makes sense you want to keep control over changes to

 16    your songs.

 17                  MR. BART:    Objection, Your Honor.

 18                  THE COURT:    Sustained.

 19    BY MR. ROSS:

 20    Q.     You'd expect that other composers may keep the same kind

 21    of control over their songs, wouldn't you?

 22                  MR. BART:    Same objection.

 23                  THE COURT:    Sustained.

 24    BY MR. ROSS:

 25    Q.     Let's talk about whether Mr. Beligh Hamdy might not want


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  1    you -- might not want you to use his music.

  2                MR. BART:    Objection to the statement and to the

  3    subject, Your Honor.

  4                THE COURT:    I think you're getting perilously close

  5    to what we said you could not go into.

  6    BY MR. ROSS:

  7    Q.     Without mentioning a single word, Your Honor, of the song

  8    can I ask about the subject?

  9                THE COURT:    No.    The question here is whether there

 10    was a right to change or adapt the song Khosara Khosara and

 11    whether it was infringed.        Seems to me those are the issues,

 12    and I think you're asking appropriate questions about that.

 13                MR. ROSS:    I think there's one other issue, which is

 14    whether this defendant willfully refrained from asking for

 15    permission.

 16                THE COURT:    Well, I get that, I get that, and I

 17    realize the questions where I've overruled the objections of

 18    the defense were intended to go to that subject.

 19                MR. ROSS:    If I can't go into it, I can't.     Is that

 20    the court's ruling?

 21                THE COURT:    Yes.

 22                MR. ROSS:    Okay.

 23                THE COURT:    No specifics.

 24                MR. ROSS:    No -- no specifics?

 25                THE COURT:    I mean, if you're headed to the


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  1    specifics --

  2               MR. ROSS:     I don't want to skate close to the line.

  3    Could I ask a question at sidebar?

  4               THE COURT:     Sure.

  5                     (Proceedings held at sidebar:)

  6               THE COURT:     What do you want?

  7               MR. ROSS:     Defendant admitted in his deposition that

  8    the lyrics were sexually explicit and vulgar, and I think he

  9    conceded to degrade and demean women.

 10               MS. LEPERA:     Going over the over the same turf.

 11               MR. ROSS:     Without me saying a single lyric --

 12               THE COURT:     I think you can certainly.

 13               MR. BART:     Your Honor, if I may, it opens the door to

 14    all of what you've kept out and kept a very narrow, defined

 15    issue that the jury is going to hear.

 16               THE COURT:     Here's the problem:    I know you argue

 17    that everyone is defending his respective or her respective

 18    turf, but the fact is very simple.       If, in fact, there was not

 19    a license permitting changes, then I think he is entitled to

 20    ask whether those changes are -- or what those changes are

 21    without getting into the details.       What I was trying to avoid

 22    was a whole discussion of the language used in the film, but I

 23    think if he's admitted the change that --

 24               MR. BART:     Your Honor, if I may, the issue is not

 25    whether or not -- if there was no right to grant the license,


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  1    there was no right -- nobody went back -- this whole thing is a

  2    bit of a charade.    Mr. Carter, not the person who cleared the

  3    license, had no responsibilities for the license.         It is all a

  4    way to get in through the back door of the summary judgment

  5    matter, which has no relevance here.

  6               We believe that we had a license.       We're here

  7    fighting over that license.      The motion is if the license

  8    isn't -- whether we're wrong, but we relied upon licenses that

  9    we made for -- why didn't you go about getting either

 10    permission -- the answer is they thought they had a license,

 11    not that they would.     There's not a transcript or a scintilla

 12    of evidence suggesting that, you know, we needed a different

 13    license than the one we got.      We're not going to get it; we're

 14    not going to get it.     It's absurd.    No foundation.    It's just

 15    an excuse to get into the lyrics.

 16               MS. LEPERA:    The court also granted the MIL we made

 17    with respect to willfulness and has made very clear prior to a

 18    period in time, the issue of willfulness is not even relevant

 19    in this case.    He's gone beyond that already, I believe.

 20               THE COURT:    Here's the problem, and we are where we

 21    are:   You are arguing this case and trying to limit the

 22    evidence as if we trifurcated it; we did not.        We bifurcated.

 23    And so we have two questions here.       One:   Is there a license,

 24    and, yes, the fact he thought there was a license goes to the

 25    issue of willfulness and something that can be argued to the


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  1    jury, which he was entitled to, at least for a limited period,

  2    that I'm talking that I permitted willfulness to be an open

  3    issue.

  4               MS. LEPERA:     After June of 2006 -- he's going much

  5    earlier in time.    He already, I think, violated the motion in

  6    limine in my view because he talked about the earlier time

  7    period.

  8               THE COURT:     Should have told me at the time.      The

  9    time -- we are where we are.

 10               MS. LEPERA:     Okay.

 11               THE COURT:     I think he can read the one passage.        You

 12    cannot get into the specifics.

 13               MR. BART:     What passage?

 14               THE COURT:     The one he just read about the --

 15               MR. ROSS:     He concedes that the lyrics are vulgar and

 16    they're sexually explicit?

 17               THE COURT:     I mean, I think that is a relevant

 18    concession, in terms of where the plaintiff's case is.          It may

 19    be that if there's a license and if these so-called moral

 20    rights don't apply, then, of course, that's all going to be

 21    irrelevant.

 22               MS. LEPERA:     Right.

 23               THE COURT:     He's on the stand right now.     I don't

 24    know how we keep it out in the space of a case.         So that's why

 25    I think he's entitled to ask that question and nothing more.


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  1                  MR. BART:    Okay.

  2                  (Proceedings resumed in open court)

  3                  MR. ROSS:    Thank you, Your Honor.

  4    Q.     We were talking, Mr. Carter, about whether Mr. Beligh

  5    Hamdy might have a reason to not want you to use his music.

  6                  You would admit, wouldn't you, that --

  7                  MR. BART:    Your Honor, can we have a question without

  8    explanation.

  9                  THE COURT:    Yes.   That's -- you're arguing.   Let's

 10    rephrase the question.

 11                  MR. ROSS:    Okay.

 12    Q.     You would admit, wouldn't you, that the lyrics of Big

 13    Pimpin are sexually explicit, wouldn't you?

 14    A.     Adult lyrics, yes.

 15    Q.     You said they're adult lyrics?

 16    A.     Yes.

 17    Q.     But sexually explicit, right?

 18    A.     Yes.

 19    Q.     And you'd agree that the lyrics are vulgar, true?

 20    A.     Well, depends on your definition of "vulgar."        Photography

 21    can be vulgar; art can be vulgar; the Statue of David could be

 22    vulgar.

 23    Q.     Let me read to you from your deposition page 99, lines 19

 24    through 24.

 25                  MR. BART:    Just for the record, I object.


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  1                   THE COURT:        I understand.

  2                   MR. ROSS:        (Reading)

  3                   "Q       Okay.     So is it fair to say that the

  4                   lyrics of Big Pimpin are pretty explicit?

  5                   "A       Yes.

  6                   "Q       Would you agree that there are parts that

  7                   are very vulgar in?

  8                   "A       Yes."

  9                   THE WITNESS:        I didn't say anything different.

 10    BY MR. ROSS:

 11    Q.     Last subject:           You personally have no objection to giving

 12    credit to the original composer of the music used in Big

 13    Pimpin, correct?

 14    A.     Correct.

 15                   MR. ROSS:        Thank you.

 16                   No further questions.

 17                   THE COURT:        Okay.   Mr. Bart.

 18                   MR. BART:        Yes, Your Honor.

 19                                    CROSS-EXAMINATION

 20    BY MR. BART:

 21    Q.     Good morning, Mr. Carter.

 22                   How are you?

 23    A.     Good morning.

 24    Q.     Can you tell the jury what your profession is.

 25    A.     Okay.        Make music; rapper; own a clothing line; I run a


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  1    label.    It's a media label called Rock Nation, which has a

  2    sports agency; music publishing, management.         I also own

  3    restaurants and night clubs, as well.       I think that covers it.

  4    Q.     I'm not so sure.

  5                   You have a music streaming service, too?

  6    A.     Yeah, yeah.     I forgot about that thing.

  7    Q.     You run all of these things, right?

  8    A.     With the help of a lot of people, yes.

  9    Q.     Right.

 10                   And in your original primary career as a rapper, what

 11    does a rapper do?

 12    A.     Make music; tell tales; entertainer; entertain the masses.

 13    Q.     And for each of the pieces that are created that you

 14    record, what component of that pieces are you responsible for?

 15    A.     Writing the lyrics.

 16    Q.     Okay.

 17                   How many records have you released?

 18    A.     I couldn't tell you.

 19    Q.     More than a dozen full-length albums?

 20    A.     Yes.

 21    Q.     Okay.     Hundreds of songs?

 22    A.     Yes.

 23    Q.     In any of those, have you gone -- let me back up just one

 24    second.

 25                   Apart from the component that you do as the rapper,


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  1    there's a musical component to these songs as well, correct?

  2    A.     Correct.

  3    Q.     Who generically -- what type of person is responsible for

  4    creating that?

  5    A.     Producer.

  6    Q.     Okay.

  7                   And in all these hundreds of songs that you have

  8    released while you're busy running all of these other

  9    companies, have you gone to the producer to determine that the

 10    producer has rights in the music that is given to -- that they

 11    provide to you?

 12    A.     No.

 13    Q.     Okay.

 14                   You were talking before with counsel about your

 15    relationship with Mr. Mosley.

 16                   Do you recall that?

 17    A.     I forgot what I said.

 18    Q.     I'm not asking you the specifics, just tying this back to

 19    a subject matter.

 20    A.     Yes.

 21    Q.     He was asking you about -- did you express some

 22    frustration that he didn't have any good music?

 23                   Do you remember that testimony?

 24    A.     Yes.

 25    Q.     Is -- do you have a regular routine with Mr. Mosely in


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  1    terms of the way the two of you work together?

  2    A.     Yes, we challenge each other.     He tells me his beats are

  3    better than my raps, and I tell him my raps are better than his

  4    beats.     It's an ongoing thing that I keep winning.

  5    Q.     And have you ever engaged personally in trying to evaluate

  6    or make a personal determination as to whether all of the music

  7    that's provided or any of the music that's provided to you by a

  8    producer is cleared?

  9    A.     No, it's not my job.

 10    Q.     And in all of the deposition references that Mr.       --

 11    counsel is showing to you, Mr. Ross was showing to you, during

 12    your direct examination about reaching personal conclusions,

 13    clearing things, you basically said you didn't know about that.

 14                   Why is that?

 15    A.     It's a team of hundreds of people that work -- that's

 16    their job; it's not my job to create contracts or clear

 17    samples.

 18    Q.     Okay.

 19                   And the same thing when you said you read contracts.

 20    With regard to the music publishing contract that was shown to

 21    you during your testimony, were you involved in the negotiation

 22    of that contract?

 23    A.     No, I wasn't.

 24    Q.     Okay.

 25                   Were any of the provisions that were read to you


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  1    things that you personally insisted upon or demanded be part of

  2    a contract?

  3    A.     No.

  4    Q.     Were you involved in that discussion at all?

  5    A.     No.

  6    Q.     Okay.

  7                   You were busy running all of your other companies and

  8    at the time writing lyrics, correct?

  9    A.     Correct.

 10    Q.     Now, let's start at the beginning.

 11                   When did you first start rapping?

 12    A.     Ever?

 13    Q.     Yeah.

 14    A.     I want to say about eight, nine years old.

 15    Q.     Okay.

 16                   Can you tell us a little bit about how you got

 17    started in it.

 18    A.     Well, it was just in the neighborhoods.      The music was --

 19    rap, if you -- for those who don't know -- started like '79,

 20    and so it's pretty new, and all the guys around the

 21    neighborhood were just messing around rapping, didn't think it

 22    would go to a professional level, just doing it at the time,

 23    just, you know, in the house or out in the park.         They would

 24    set up a D.J. setup and just messing around and rapping.          That

 25    would be the day.


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  1    Q.     Just for the record, where did you glow up?

  2    A.     Marcy Projects, Brooklyn, New York, Bedford-Stuyesant.

  3    Q.     It's a section of Brooklyn.

  4                   And so you heard this music being played in your

  5    neighborhood in the projects and basements and the rest.

  6                   How did you get involved in it?

  7    A.     Again, just rapping at the table and making up these

  8    lyrics, and there was a guy in the neighborhood.         His name is

  9    Jazz -- Jazz-O, and he got a deal with EMI Records.         I want to

 10    say early 90s, late '80s, and he went to London to make his

 11    album; I went with him.       I didn't do anything but . . .

 12    Q.     Just to make things easier for you:       If you could just

 13    move the mike a little bit closer to you.

 14    A.     Sure.

 15    Q.     Okay.     Great.

 16                   And was that the first time -- when you went to

 17    London with him, were you involved in any of the projects he

 18    was working on?

 19    A.     Yeah, I kind of rapped on one song, but it was pretty much

 20    his project and his vision, and I was just along with him for

 21    the ride.

 22    Q.     So how do you go from there to starting your own

 23    professional career as a rapper?

 24    A.     We would leave there, and the project came out, and it

 25    didn't do so well, and the guys from EMI offered me a record


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  1    deal at that moment.       But, you know, I felt like, you know, it

  2    was weird because he had just did a deal with them, didn't

  3    work, and now I step out.       So I moved away from that; I didn't

  4    do that deal, and I went away, came back, created a demo,

  5    shopped it to every single record label, couldn't get a deal;

  6    every single one of them turned us down.        So, you know, we were

  7    at a point where it was either quit or, you know, build this

  8    bridge to the people ourselves.

  9                 So we start selling our own records.     We had a little

 10    plant in Brooklyn.       So we would press up 20, 30 copies of the

 11    record and put it in our car and then sell it on Sixth Avenue

 12    in Manhattan, go around and -- really grass roots.

 13    Q.      You said "we."    Were you working with other people at the

 14    time?

 15    A.      Yeah, it was three of us who started the company:       Damon

 16    Dash, Kareem Burke and myself.

 17    Q.      You say you started this company.

 18                 What was the company that you started?

 19    A.      It was called Roc-A-Fella Records.

 20    Q.      You remained affiliated with Roc-A-Fella Records a long

 21    time, weren't you?

 22    A.      Correct.

 23    Q.      And so did they at the beginning -- the Roc-A-Fella's

 24    distribution was you and Kareem and Damon selling records out

 25    of the back of cars?


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  1    A.     Yes, we had a distribution of our cars.

  2    Q.     Did there come a point in which you got a little bit more

  3    formal or more developed in terms of the distribution of your

  4    records?

  5    A.     Yeah.     We created a small buzz, and then we got a -- first

  6    we got a singles deal with Payday for a song called In My

  7    Lifetime; then we did a remix of that.       Then from there, we got

  8    a deal with Priority Records through a company called Freeze.

  9    So it's Roc-A-Fella, Freeze, Priority.

 10    Q.     Was that in connection with your first full-length album?

 11    A.     Yes.

 12    Q.     Okay.

 13                   For the jury, what was the name of that album?

 14    A.     Reasonable Doubt.

 15    Q.     What was your creative vision for Reasonable Doubt at the

 16    time when you created it?

 17    A.     Just to tell stories of neighborhoods; tell stories in

 18    entertainment; create this album -- I had, like, released -- my

 19    goal in my mind was I'll put this album out, this album will go

 20    gold, and then I will stop making music.        Some kind of strange

 21    vision I had.

 22    Q.     But it was an ambitious vision for a first album you get a

 23    gold record?

 24    A.     Yeah, I think we sold 34,000 records during the time --

 25    like gold is 500,000; we fell far short of that goal.


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  1    Q.     But were you trying to reach mass audience with that?

  2    A.     No, really trying to make my friends happy.       I was just

  3    trying to, you know, impress them.

  4    Q.     Now, was there a particular song on that album that you

  5    felt would connect with your friends and the people that you

  6    grew up with and were surrounded by particularly?

  7    A.     Just the whole album.     You know, I thought the album would

  8    connect.       Of course, there were singles:    Dead Presidents and

  9    Ain't No and Can't Knock the Hustle, songs like that, which

 10    stood out from the album, but the entire album.

 11    Q.     The songs that you just mentioned, did those songs chart?

 12    A.     Yeah, but barely.     Started somewhere -- yeah, I don't know

 13    the numbers but . . .

 14    Q.     They were on the Billboard Top 100 but not necessarily in

 15    the top 20?

 16    A.     Yes, that would be fair.

 17    Q.     Okay.

 18                   So after the initial release of Reasonable Doubt,

 19    were you able to get a more established distribution through

 20    Def Jam?

 21    A.     Well, Priority was a major label at the time.       We were

 22    just -- its headquarters were out west.         So it was difficult to

 23    really, like, connect with them, and also we were going through

 24    a company called Freeze Records, which meant that we were

 25    accountable for all the Freeze's gains or losses.         So if


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  1    Reasonable Doubt was successful and Freeze records was not,

  2    then we were held accountable for their losses.         So we got out

  3    of the contract, but Priority was a major label.         It still is.

  4    Q.     How did you get hooked up with Def Jam?

  5    A.     On the album Reasonable Doubt, we had a song called Ain't

  6    No, and it was gaining a lot of attention around the -- I want

  7    to say the Eastern Seaboard, and we wanted to take the record

  8    to another level.     So we went -- someone told us about a guy

  9    named Kevin Liles who worked at Def Jam.        So we went to his

 10    office and, you know, he was, like, Man, could you help us with

 11    this record, and he -- maybe I'll just tell the whole story.

 12                We brought some money, and we said, Hey, man could

 13    you work this record for us and we'll pay you, and he's like,

 14    That doesn't make any sense.      I can't do that.    I work for Def

 15    Jam, and yada, yada.     Then he called the guy named Wes Johnson,

 16    who was the radio promotions guy at the time, and Wes Johnson

 17    made a phone call, and he said, Ya'll, this is the hottest

 18    record on the street, and then, of courses, Def Jam wanted to

 19    have the record for themselves.      So they made a deal that if we

 20    put this record on the sound track called Nutty Professor -- it

 21    was a movie that Eddie Murphy had made, that Nutty Professor --

 22    and we agreed to let them use the record, and then they offered

 23    me a recording deal; and at that point, we had done so much

 24    groundwork that, you know, I turned down the record deal, and I

 25    said we'd rather have the deal for the entire label, and that's


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  1    how Roc-A-Fella with Def Jam did the co-venture.

  2    Q.     So, you know, you have now a co-venture with Roc-A-Fella;

  3    you have your one album out.      Do you follow through on your

  4    intention to retire from performing and become just an

  5    executive?

  6    A.     No.

  7    Q.     No.

  8                 And why not?

  9    A.     Well, the main reason is I love music.      I was -- you know,

 10    God-given ability to do it and just feel that it's something

 11    that's a part of me.

 12    Q.     Let's just talk about that for a second because when I was

 13    asking you about starting to rap, you have a whole history --

 14    don't you -- with working with rhyme since you were very, very

 15    young and playing with word play and keeping track of it.

 16    Maybe you could just tell us a little bit about that how that's

 17    just part of you.

 18    A.     Well, in the beginning, I would write so much -- I would

 19    write -- every single day I would -- my mom had bought me a

 20    notebook that didn't have any lines in it.        So like all the

 21    words were crooked, and it was like this notebook just filled

 22    with words.

 23                 And I wrote so much that I started moving away from

 24    the house, and as I got further and further away from the

 25    house, I developed a muscle where I just create lyrics in my


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  1    head.     I don't write -- in my whole career of making music, I

  2    didn't write anything down; I would just go into the booth and

  3    just record whatever song is there.

  4    Q.      Okay.

  5                    So after Reasonable Doubt, what was your next

  6    project?

  7    A.      It was called Volume 1, In My Lifetime.

  8    Q.      How was that album received by the public commercially?

  9    A.      Well, it was -- it sold more than Reasonable Doubt.        It

 10    was a platinum album.

 11    Q.      When you say "platinum album," that means more than a

 12    million sales, correct?

 13    A.      A million sales, yes.

 14    Q.      So, you know, between that and something that I think you

 15    described as being 30 or 40,000, it's a nice step up.

 16    A.      Yes.

 17    Q.      Okay.

 18                    Were there any singles on that album that charted?

 19    A.      I'm sure, but I don't know.     Again, I don't know the

 20    number.

 21    Q.      All right.     Well, no, forget the numbers, but you had

 22    songs like Sunshine and The City is Mine?

 23    A.      Yes.

 24    Q.      And were there any differences in the way the songs were

 25    produced on the two albums?        Did you have different producers


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  1    than you did on the first record?

  2    A.     Yeah, the first album took my whole life to make.         So it

  3    was an album created outside of the industry.        So it was

  4    created with all heart.     And then, you know, now we have to

  5    deal with Def Jam and all these other things are playing a

  6    factor, you know, know a little bit about radio spins and how

  7    it can affect the album and things like that.        So for me the

  8    album was uneven.     You know, it started in the same vein as

  9    Reasonable Doubt, and then ended in the place where, you know,

 10    songs like Sunshine and The City is Mine -- I can't even listen

 11    to them now.

 12    Q.     But it was well received commercially by the public, the

 13    album?

 14    A.     Yes, yes.

 15    Q.     What was your next project after that record?

 16    A.     Volume 2.

 17    Q.     What was the name of Volume 2?

 18    A.     Hard Knock Life.

 19    Q.     What was the creative vision for that album?       You were

 20    just talking about how in that book -- why don't you just tell

 21    me.

 22    A.     So we took the experiences from, you know, a pure album

 23    like Reasonable Doubt, and then the missteps of Volume 1, and

 24    that's how you get to Volume 2, the idea of crafting songs and

 25    making things and still giving it the heart.        I pretty much


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  1    had -- well, in my opinion, I had pretty much perfected by the

  2    time Volume 2 came out and the results were what they were.

  3    Q.     You say "the results were what they were," that was your

  4    break-through album, correct?

  5    A.     Yes.

  6    Q.     And sold over 5 million copies, correct?

  7    A.     Yes.

  8    Q.     Okay.

  9                   And it had, unlike the others that -- singles that we

 10    talked about that sort of squeaked into the charts, it had some

 11    top 20 hits, didn't it?

 12    A.     Yes.

 13    Q.     Like Hard Knock Life for one?

 14    A.     Yes.

 15    Q.     And Can I get A?

 16    A.     Yes.

 17    Q.     Did it win any awards?

 18    A.     Yeah, I think we may have won the Grammy for best album --

 19    no, I don't know which -- exactly which one.

 20    Q.     When you get so many Grammy, you can forget which ones are

 21    which, right?

 22    A.     Well --

 23    Q.     And after Volume 2 -- were you touring after Volume 2?

 24    A.     Yeah, we went out on tour called -- well, the subsequent

 25    movie was Backstage -- I forget the name.        I think it was the


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  1    Hard Knock Life Tour.       It's not that hard.

  2    Q.     And there was a breakthrough tour three, too, riding the

  3    heals of that album, correct?

  4    A.     Yes.

  5    Q.     And so you came back to work on your next album, which is

  6    the album, Volume 3, the song this case has appeared, correct?

  7    A.     Correct.

  8    Q.     Okay.     How did that album come about?   What was the

  9    creative vision of that coming on the heals of Volume 2?

 10    A.     That album was pretty much reactionary.      The place I was

 11    in at the time was coming off this huge success of Volume 2

 12    that, you know, we hadn't imagined that we would see, and so

 13    Volume 3 was -- looking back on it, you know, if you look at

 14    the songs on it and the tone of it, is pretty reactionary to

 15    that success at the time.

 16    Q.     When you say "reactionary," it is a response to the

 17    experience of the sales and the tour?

 18    A.     Yes.

 19    Q.     Okay.

 20                   But you had, again, a number of hit songs that

 21    appeared on that album, correct?

 22    A.     Yes.

 23    Q.     Do you remember any of them?

 24    A.     Maybe -- Do It Again.

 25    Q.     Didn't -- Jigga My was on that record?


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  1    A.     Jigga My was actually the bridge going into that album,

  2    Jigga My into Do It Again, and then Girl's Best Friend, yeah,

  3    which was on a -- some Martin Lawrence sound track.         I forget

  4    the name, Blue Streak, or something like that.

  5    Q.     So there were three songs that were on the album that came

  6    out as singles before Big Pimpin, correct?

  7    A.     Correct.

  8    Q.     Okay.

  9                   Now, in your experience, through this period of time,

 10    what's the significance of the first single on an album?

 11    A.     The first song is almost like a commercial for the album.

 12    It's the introduction.       It's the song that leads people to say

 13    I like this song.       I'm going to go explore and see if there's

 14    more on the album that I'd be into.

 15    Q.     Okay.

 16                   And what was the significance when a song is the last

 17    single on an album?

 18    A.     I don't -- I don't know.     Just -- it's not the commercial

 19    for the album.

 20    Q.     Okay.

 21                   Mr. Ross was talking to you about a passage from

 22    Decoded where you said, you know, you knew you had a gem here

 23    with Big Pimpin, right?

 24                   You like Big Pimpin, don't you?

 25    A.     No, I really like it; it's fun.


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  1    Q.     That's how it was intended to be, correct?

  2    A.     Correct.

  3    Q.     And did you know at the time that you released it as a

  4    single it was going to become a super-successful single?

  5    A.     Well, creating it, no.     Creating it, it was just, you

  6    know, a cool song and put some guys from Texas on it, Bun B

  7    Pimp C, and, you know, just felt different; and so at the time,

  8    no, but the album was released in -- you know, just felt good,

  9    felt like a good single, yeah.

 10    Q.     Okay.

 11                   And was Volume 3 also nominated for Grammys?

 12    A.     Um --

 13    Q.     If I say so?

 14    A.     Yeah --

 15    Q.     Don't have a recollection.

 16    A.     Yeah.

 17    Q.     We'll leave that alone.

 18                   Now, we talked kind of generically before about the

 19    role of rappers versus the role of producers.        I want to sort

 20    of get back to that for a little bit.

 21                   You're not a producer, correct?

 22    A.     I'm an executive producer, but no, not a beat maker, no.

 23    Q.     Okay.

 24                   Well, since you raised that, what is the difference

 25    between a producer and an executive producer?


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  1    A.     Well, executive producers pretty much have the overall

  2    vision.      So take someone like Rihanna, you know, to -- I signed

  3    her.    So I'm the executive producer of the album, but I don't

  4    make her music; she plays me different things, and I say, Oh,

  5    maybe you should go in this direction or that direction, but I

  6    don't create the actual track that she is singing on.

  7    Q.     Okay.

  8                   We were talking about before the roles that you play

  9    in the music industry; we hadn't really talked about that,

 10    talking about executive producer and finding and developing

 11    other talent.

 12                   Can you tell us just a little bit?   I mean, you

 13    mentioned Rihanna as an example.       Can you give us some others?

 14    A.     Some other names?

 15    Q.     Yeah, or just some other work that you do in that area,

 16    however you want to approach it.

 17    A.     Signed an artist called J. Cole; signed an artist called

 18    Kanye West.

 19    Q.     Some people might have heard of him.

 20    A.     Yeah, one or two.     He's running for president, you know.

 21    Q.     Okay.

 22                   So -- but in terms of working a board, putting

 23    together a track, that's not something you do, correct?

 24    A.     No.

 25    Q.     But you've observed producers doing that kind of work,


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  1    correct?

  2    A.     Yes.

  3    Q.     Okay.     How -- just from your watching, what are some of

  4    the ways that -- some of the tools that producers used to

  5    create tracks?

  6    A.     It varies.     You know, some are strictly -- use like beat

  7    machines, synthesizers, some bring in live instrumentation.          It

  8    depends on the producer.

  9    Q.     Okay.

 10                   And when you're doing a rap -- Mr. Ross asked you

 11    about this before -- and said, you know, don't you wait until

 12    you have a track, and then you go with that track?

 13                   Is that the way it always works in terms of creating

 14    your rap?

 15    A.     No.     Sometimes -- I stated earlier -- you know, because I

 16    create so many songs in my head, sometimes I have songs or

 17    sometimes the track dictates.       It varies.   There's no --

 18    there's no one set -- no set way.

 19    Q.     Right.

 20    A.     Happens different ways for me.

 21    Q.     But, you know, you're the professional here, but what

 22    seems a little odd, and maybe you can help us with it, is if

 23    you're going to be rapping rhythmically to music that's

 24    provided to you by a producer and you have a song in your head,

 25    how do you know that you are going to be able to fit it to


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  1    music that comes later?

  2    A.      Oh, okay.

  3                 Well, for me, that -- trying to say this in a very

  4    humble way --

  5    Q.      Just go for it.

  6    A.      It's easy for me to move words, in flows and syncopation

  7    and move things out.        I have a natural ability for doing that

  8    sort of thing.      So if I have a song and it's -- let's say it's

  9    static in my mind and it's set to a different beat, and I hear

 10    something from a producer, I can always change something

 11    that -- din, da-da-din, da-da-din to        dun-ad-a, dun-ad-a,

 12    dun-ad-a.     It's a very natural thing for me.

 13    Q.      You can adjust the spacing and timing and presentation of

 14    the words to fit something if it moves you?

 15    A.      Of course, of course.

 16    Q.      Now, what are the inspirations for your lyrics, just

 17    generally?     How do you come up with lyrics?       Where do they come

 18    from?

 19    A.      Again, it varies.     You know, it can deal -- it an be from

 20    a real-life experience, something I've seen; it can be

 21    something that happened to a friend of mine, something I heard

 22    about, or it can be drawn from, you know, any sort of film

 23    and/or -- Richard Pryor and black exploitation films.          It can

 24    be Quentin Tarrantino.        It can -- Scar Face.    It can come from

 25    a number of things.       You know, I wrote a song called Most


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  1    Kings.       I was inspired from a Basquiat painting.    At the end of

  2    the painting, it just had "Most kings get their head cut off."

  3    And that inspired an entire song.       So it can be -- it can be

  4    anything.

  5    Q.     So if somebody is reading the lyrics of your song, is it

  6    is fair to assume that those are auto biographical lyrics?

  7    A.     No, that's not fair.     I mean -- I guess, you know, you

  8    wouldn't look at a Quentin Tarrantino film and assume that's

  9    about his life.       I don't understand how -- I'll just leave it

 10    at that.

 11    Q.     Fair enough.

 12                   So after you -- it think you already addressed that

 13    you don't write your lyrics down, correct?

 14    A.     Correct.

 15    Q.     And after you record your rap, do you have any more role

 16    in completing the song?

 17    A.     Well, listening to the mix after it's done.

 18    Q.     But you're not the one doing the mix, are you?

 19    A.     No.

 20    Q.     And after the song is recorded and you approve the mix,

 21    your role in the song done, correct?

 22    A.     Correct.

 23    Q.     Now, you recall when Mr. Ross played a segment of the

 24    movie Fade to Black as part of your direct examination?

 25    A.     Yes.


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  1    Q.     We'd like to play a portion that also goes through the

  2    song-writing process.         I'm just going to ask you whether or not

  3    that was representative of the way you and Mr. Mosley work

  4    together in terms of writing songs.

  5                   May we?

  6                   (Video played.)

  7    BY MR. ROSS:

  8    Q.     That's typical Carter/Mosley encounter?

  9    A.     That's how it goes.

 10    Q.     Yeah.

 11                   And you worked with Mr. Mosley -- with Tim prior to

 12    Volume 3, correct?

 13    A.     Yes.

 14    Q.     You worked with him on Volume 2?

 15    A.     Yes.

 16    Q.     What do you think is special about Timbaland's productions

 17    in general?

 18    A.     Well, he's a genius.       In any genre of music, he would be

 19    considered one of the best producers of all time.

 20    Q.     Does he work outside of the hip hop area?

 21    A.     Yeah, yeah.       He's worked with everyone from Joey C. to

 22    Aaliyah and R and B artists to rap artists to every genre.

 23    Q.     So if he is working on genres that are primarily melodic,

 24    correct, in addition to the more rhythmic work he does on the

 25    hip hop tracks, right?


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  1    A.     Yes.

  2    Q.     Okay.

  3                   And so in terms of hearing a tract that Mr. Mosley

  4    produces that has melodic elements in it, do you ever think

  5    immediately that that was recorded beforehand, as opposed to

  6    created by Mr. Mosley?

  7    A.     No.     In fact, you know, he is mostly known for creating

  8    sounds in different pockets and paddings on his own.

  9    Q.     Did you ever, in terms of Big Pimpin, hear from him or

 10    anybody else prior to the release of the song that there was a

 11    recorded sample used in that track?

 12    A.     No.

 13    Q.     Did it ever occur to you that there was a recorded sample

 14    as part of that track?

 15    A.     No.

 16    Q.     Okay.

 17                   On any album that you've had where you were aware

 18    that there is a recorded sample on the track, it's clear,

 19    correct?

 20    A.     Correct.

 21    Q.     Okay.     And in this particular case, it was your view that

 22    this was original -- at the time that you did the piece, you

 23    had no thought other than it was originally created music,

 24    correct?

 25    A.     Correct.


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  1    Q.     Okay.

  2                   Now, going back to that creation, I think you

  3    mentioned a couple of times that there were other rappers on

  4    the song as well, correct?

  5    A.     Yes.

  6    Q.     Okay.     And how did they come in -- let's just go through

  7    the process chronologically of creating Big Pimpin.

  8                   So the first piece is the creation of the track,

  9    correct?

 10    A.     Yes.

 11    Q.     Okay.

 12                   So tell me a little bit about that.   I mean, you went

 13    into Manhattan Studios and saw Mr. Mosley and . . .

 14    A.     Yes.     We were messing with each other again, and I told

 15    him that he didn't have anything and I was leaving, and he

 16    played this track, and then I took my coat off and start

 17    working on this song.       I think I pretty much had the body of

 18    the song that day.

 19    Q.     Uh-huh.

 20    A.     And then I reached out to Bun B and Pimp C, who is from a

 21    group called UGK out of Texas, and I think we recorded Bun mix

 22    in Sony Studios, and when I got in touch with Pimp C, he was

 23    afraid of the song.       He was like, Man, oh, man, Jacob man, I

 24    don't know about those horns, man; they're too fruity.

 25                   So it was really difficult convincing him to be on


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  1    the song.       I was like, No, this is a really good song, trust

  2    me.    He was like, I still -- I still have to perform, man.

  3                   I think it took a couple weeks.     I think me and Tim

  4    was back in Manhattan Studio when his vocals got sent in

  5    immediately.       I almost thought -- if I remember correctly, we

  6    were at the end of the project; I didn't think we would get

  7    him, and then he sent his vocals really late.

  8    Q.     When you heard the track that Tim played for you that day,

  9    there were lots of layers to that track, correct?

 10    A.     Yes.

 11    Q.     Okay.

 12                   There were percussion pieces, different types of high

 13    hats and other percussion instruments?

 14    A.     Yes.

 15    Q.     And there's record scratching?

 16    A.     Yes.

 17    Q.     Okay.

 18                   And when Mr. Ross was asking you about -- in his

 19    terms -- Arabic music, was the track merely that piece that

 20    we've been listening this morning, or did it have a lot of

 21    separately created Timbaland product on that track?

 22                   MR. BART:    That calls for speculation.

 23                   THE COURT:    I think it does.   Really is getting to be

 24    leading.       I can understand some of this, but let's --

 25                   MR. ROSS:    You're right, Your Honor.     I'll leave it


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  1    for the next witness.

  2                   During the recording process, did you change or edit

  3    the instrumental track at all?

  4    A.     Me?

  5    Q.     Yeah, you?

  6    A.     No.

  7    Q.     Did you ask Mr. Mosley to make any changes in it?

  8    A.     No.

  9    Q.     Did you mix it?

 10    A.     No.

 11    Q.     Okay.

 12                   Did Mr. Mosley ever tell you there was a sample in

 13    it?

 14    A.     No.

 15    Q.     When you recorded Big Pimpin, had you ever heard the song

 16    Khosara Khosara?

 17    A.     No.

 18    Q.     And after Big Pimpin came out, did there come a point that

 19    you became aware that there was a claim that there, in fact,

 20    had been a sample in that track?

 21    A.     Yes.

 22    Q.     Okay.

 23                   At any point, at any point, were you personally,

 24    Shawn, Carter involved in evaluating that claim, negotiating

 25    that claim, or having anything to do with that claim?


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  1    A.     No.

  2    Q.     Okay.

  3                   You were brought in here as a defendant because it

  4    was a song that came out in your Album, correct?

  5    A.     Correct.

  6    Q.     But in terms of you doing any analysis, negotiation,

  7    evaluation, that was never anything you did?

  8    A.     No.

  9    Q.     Okay.

 10                   And did there come a point when you were advised that

 11    that claim had been resolved?

 12    A.     Yes.

 13    Q.     Okay.

 14                   And from that point forward, from the time that point

 15    was -- when you were told that it was resolved and there had

 16    been a license, have you at all times relied on that license in

 17    terms of your exploitation?

 18    A.     Yes.

 19    Q.     Now, you understand what it means to clear a sample,

 20    right?

 21    A.     Yes.

 22    Q.     Okay.     And have you personally been involved in clearing

 23    samples, you, Shawn Carter?

 24    A.     In my life?     Let me think.   Well, I reached out to The

 25    Doors to help clear a sample for a song called Takeover.


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  1    Q.     Okay.

  2    A.     And -- very rarely, yeah.

  3    Q.     Okay.

  4                   Now, Mr. Ross asked you about whether you still

  5    perform Big Pimpin in concerts.

  6                   Do you remember that question?

  7    A.     Yes.

  8    Q.     Why do you still perform Big Pimpin in concerts?

  9    A.     It was under -- we have the rights, as you see on the

 10    bottom of the CD, and it's -- I like the songs pretty good.

 11    Q.     So let me just wrap up with a little bit of stuff that you

 12    can't be modest about.       So you're just going to have to answer

 13    the questions because you're under oath.

 14                   How many of the album that you've released have

 15    reached No. 1 on the Billboard Chart?

 16    A.     All of them.

 17    Q.     Okay.

 18                   And is there any solo performing artist who had more

 19    No. 1 albums than you?

 20    A.     No.

 21    Q.     Okay.

 22                   How many Grammys have you won?

 23    A.     Twenty-one.

 24    Q.     Precise number.

 25    A.     Yeah.


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  1    Q.      Are there other awards that you've won from other sources,

  2    BET Music Awards; American Music Awards, all the foregoing?

  3    A.      Yes.

  4    Q.      Including the Nickelodeon's Kid's Choice awards?

  5    A.      Yes.

  6                   MR. BART:     I have no further questions.

  7                   THE COURT:     Anything, Ms. Lepera?

  8                   MS. LEPERA:     No.

  9                   THE COURT:     You have some questions?

 10                   MR. ROSS:     Yeah, maybe ten minutes.

 11                   THE COURT:     Why don't we clean it up, if we can, and

 12    finish off so that we can start with a new witness after lunch.

 13                   MR. ROSS:     That's fine by me.

 14                                REDIRECT EXAMINATION

 15    BY MR. ROSS:

 16    Q.      Hello again, Mr. Carter.

 17                   You testified when you're own counsel was questioning

 18    you that it's not your job to determine if music is cleared,

 19    right?

 20    A.      Yes.

 21    Q.      And you said you have a team of hundreds of people doing

 22    that.

 23                   Do you recall that?

 24    A.      Yes.

 25    Q.      Let me read to you from your deposition, page 62, lines


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  1    nine through 14.

  2               THE COURT:      Go ahead.

  3               MR. ROSS:      (Reading)

  4               "Q      Before the release of Big Pimpin did you

  5               personally investigate whether you had the right

  6               to use the music?

  7               "A      No."

  8               MR. BART:      I'm sorry, Mr. Ross.      Are you on page 62?

  9               MR. ROSS:      I'm sorry.   Wrong quote.

 10               I meant to go to 55, lines three through 15.

 11               THE COURT:      Hang on again.   Okay.

 12               I don't think it's inconsistent, but it is a

 13    statement of the parties.       Go ahead.

 14               MR. ROSS:      (Reading.)

 15               "Q      Before the release of Big Pimpin, did you

 16               personally investigate whether you had the right

 17               to use the music?

 18               "A      No.

 19               "Q      Before the release of Big Pimpin, are you

 20               aware of anyone else who investigated whether or

 21               not you had the right to use the music in the

 22               song?

 23               "A      I don't know."

 24               Move to page 62, lines nine through 14.

 25               "Q      Who in particular handled the process of


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  1                clearing samples for Volume 2, if you know?

  2                "A     I don't recall.

  3                "Q     Did anyone?

  4                "A     I don't recall."

  5                You testified when your counsel was asking you

  6    questions that it was the producer's job.

  7                Let me read to you from your deposition.

  8                MR. BART:    Objection, Your Honor.    That's not -- if

  9    he's going to read from the record, he should read from the

 10    record and not paraphrase what he thinks was said.

 11                THE COURT:     I think that's a fair comment.

 12    BY MR. ROSS:

 13    Q.     Do you recall giving that testimony?

 14    A.     Ask the question again.

 15    Q.     You said it was the producer's job to make sure the music

 16    was cleared?

 17                MR. BART:    Objection.

 18    BY MR. ROSS:

 19    Q.     Isn't that right?

 20    A.     Did I say that?

 21                THE COURT:     I'm going to overrule the objection.      I

 22    think that's a fair question.

 23                THE WITNESS:     Did I say that?

 24                MR. ROSS:    Yes.

 25                THE WITNESS:     I said it's the producer's job to clear


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  1    the sample?

  2    BY MR. ROSS:

  3    Q.     Yes.

  4    A.     Is that what I said?

  5    Q.     Well, let me just read to you from your deposition --

  6                  MR. BART:    No, no.   Objection --

  7                  THE COURT:    I get it.

  8                  The question is are you asking him in the course of

  9    his testimony today did he say that the producer has the job of

 10    clearing music?

 11                  MR. ROSS:    Yes, and he doesn't seem to have a

 12    response to that.

 13                  THE COURT:    Let's not have a discussion.

 14                  MR. ROSS:    I'm going to read to him from his

 15    deposition.

 16                  MR. BART:    The problem is he is starting out with his

 17    presentation of what he thinks was said --

 18                  THE COURT:    I understand, and I'm not sure that that

 19    accurately characterizes what was testified to, but I don't the

 20    transcript in front of me either.

 21                  MR. BART:    Well, I don't have a problem, Your Honor.

 22    As you said, it was the deposition of a party.         So he can read

 23    what he wants.      I just don't want that preface read to imply

 24    it's inconsistent --

 25                  THE COURT:    I hear you.


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  1                  What do you want to read?

  2                  MR. ROSS:    Page 72, line 23, through 73, line 11.

  3    Go.

  4                  THE COURT:    Go ahead.

  5                  MR. ROSS:    (Reading)

  6                  "Q    Do you think it was his responsibility as

  7                  the producer to make sure that the music that he

  8                  provided you did not violate someone else's

  9                  rights?

 10                  "A    I didn't even think about it.

 11                  "Q    As you sit here today, do you think it was

 12                  Timbaland's responsibility as the producer of

 13                  the music to make sure that any sample he used

 14                  was clear and free of any violation?

 15                  "A    I don't know."

 16    Q.     You testified when your own counsel was questioning you

 17    that you thought you had a license to use this music.

 18                  Do you recall that?

 19    A.     Yes.

 20    Q.     Let me read to you from your deposition, page 27, line

 21    seven through 12.

 22                  THE COURT:    Okay.

 23                  MR. ROSS:    (Reading)

 24                  "Q    Do you have any understanding or belief as

 25                  to whether or not you have a license to use the


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  1                   musical composition named Khosara Khosara?

  2                   "A    I don't know."

  3    Q.     You testified when your counsel was questioning you that

  4    you thought Mosley had just written the music.

  5                   Do you remember that?

  6                   MR. BART:    I object to that characterization.

  7                   THE COURT:    Well, why don't we amend the question

  8    that -- I think he did say that he believed Mosley had written

  9    it, and Mosley didn't sample.

 10                   MR. ROSS:    Right.

 11    Q.     Isn't that what you testified to?

 12    A.     Correct.

 13    Q.     This suit's now been ongoing for eight years.

 14                   Do you still think that?

 15    A.     Today?

 16    Q.     Yeah.

 17    A.     Yes, he added elements to it, but, yes, his inspiration

 18    was from Khosara Khosara.

 19    Q.     Okay.

 20                   You've been remarkably successful in your career.

 21    You'd agree, right?

 22    A.     Yes.

 23    Q.     We've heard about a lot of your triumphs here today,

 24    correct?

 25    A.     Correct.


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  1    Q.      Wouldn't hurt you one bit, would it, to make sure that a

  2    composer gets credit if credit is due?

  3                 THE COURT:     Sustained.

  4    BY MR. ROSS:

  5    Q.      Would it?

  6                 THE COURT:     Sustained.     It's argumentative.

  7                 MR. ROSS:     Thank you.

  8                 No further questions.

  9                 MR. BART:     I have nothing further.

 10                 THE COURT:     All right, then.     I think you are

 11    excused, Mr. Carter.        Thank you.

 12                 THE WITNESS:     Thank you.

 13                 THE COURT:     Seems this would be a good moment for the

 14    noon recess.        Ladies and gentlemen of the jury, may I ask you

 15    to be back here at 1:30.        As I indicated, today we will go to

 16    4:30.     Meanwhile, keep an open mind.        Please don't talk to one

 17    another about the case or anyone else about the case, and we

 18    will see you back here at 1:30 p.m.           Thank you.

 19          (Proceedings held outside the presence of the jury:)

 20                 THE CLERK:     Please be seated.

 21                 So I think we said we we're going to visit the

 22    objections to the various transcripts that the plaintiffs are

 23    going to read.

 24                 Can we do that now, or do it at a different time?

 25                 MR. STEINBERG:     Whatever your preference is Your


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  1    Honor.

  2                 THE COURT:   I can go quickly.    Let me tell you what I

  3    tentatively believe is the correct conclusion.         Since some are

  4    in the -- cumulative, perhaps we can do it this way.          Let's

  5    take the deposition of Mr. Fahmy, first of all.

  6                 There is an objection on page as to page 17 based on

  7    the Federal Rules of Evidence.

  8                 I think I'm going to sustain that as not being the

  9    best evidence.     There is also, at page 35, an objection based

 10    on 403 and based on motion in limine No. 3, regarding testimony

 11    about copies of recordings.      And I think I'm going to sustain

 12    that objection because we've said the recordings do not come

 13    into play.

 14                 Page 36, same problem.    I think I would sustain that

 15    objection, but I'll hear argument on it.        And at page 38, there

 16    is a similar objection, and I'm prepared to hear argument on

 17    that.

 18                 On page 79, I think I'm going to overrule the

 19    objection.     That was Volume I, I guess.     Volume II, there is an

 20    objection at page 140.      I think I need to hear argument because

 21    I'm not sure that I'm prepared to sustain that objection.             I'm

 22    not sure that I want to -- I think I'm going to overrule the

 23    objection on 161, but I'll hear argument.

 24                 As to, however, 171, it does seem to me that that

 25    objection should be sustained as unexpressed subjective intent,


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  1    but I will hear argument.       On page 209, the objection hearsay

  2    and Federal Rule of Evidence 1002.       Seems to me that lines ten

  3    through 18, the objection should be overruled, but as to lines

  4    19 through page 210, line five -- let's start again.

  5                As to on page 209, lines nine to 24, I would sustain

  6    the objection, but I would otherwise overrule the objection

  7    lines one through 16, page 210.

  8                With regard to the objection on 214, page 214, I

  9    would overrule the objection as to line 17 through 22.            As far

 10    as the discussion about the shares, seems to me the document

 11    speaks for itself.       It is in the nature of hearsay.

 12                215 lines 12 through 24, overrule the objection,

 13    same.    Regarding page 218, lines 14 through 20.       I would

 14    overrule the objection.       That's about that.

 15                Regarding Mr. Loutfi's deposition transcript, on page

 16    12, there's an objection.       I think it's an ultimate fact, and I

 17    don't think it's appropriate for him to testify.         So I would

 18    sustain that objection.

 19                Then on page 15, I would overrule the objection.             I

 20    think you can lead an expert.

 21                On page 35 --

 22                MR. STEINBERG:     Page 17 there was an objection.

 23                THE COURT:     Seventeen, did I miss 17?    Sorry.     I'm

 24    sorry.

 25                I think I'm going to overrule those objections,


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  1    Mr. Steinberg.     You have several that you claim run afoul of

  2    the motions in limine, but I think they fall within the area of

  3    what we've left open.

  4                 So I intend to also overrule your objection on page

  5    35; your objection on 39; 40; and I'm going to overrule 41.

  6    I'm going to overrule; 42, the objection there, although it's

  7    not made, it seems to me to be an incomplete hypothetical, and

  8    I think it's probably inadmissible for that purpose.

  9                 On page 43, line 22, once again, I think I am going

 10    to overrule the objection because I really think it falls

 11    within that open area left open by motion in limine No. 1.

 12    Same for page 45 for the objection there, for the same reasons.

 13    And on page 56, I would overrule the objection at line nine.              I

 14    would sustain that objection as, again, going to an ultimate

 15    fact.

 16                 Page 58 --

 17                 MR. STEINBERG:   I'm sorry, Your Honor.     Page 56, the

 18    which line are you sustaining?

 19                 THE COURT:   Fifty-six, my -- I'm overruling the

 20    objection to line nine --

 21                 MR. STEINBERG:   Through 13?    And then sustain the

 22    other one?

 23                 THE COURT:   Correct.

 24                 MR. STEINBERG:   That extends to page 57?

 25                 THE COURT:   Yes, 56, 57.


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  1                MR. STEINBERG:    Thank you.

  2                THE COURT:    Then I think I need to hear argument.       I

  3    don't understand the qualification of Loutfi to opine on the

  4    subsequent licenses, but unless the premise is that the moral

  5    rights are not licensable in the first place, in which case if

  6    that is the premise of what his testimony is, then someone

  7    ought to mark it and clarify it, because that's, to me, the

  8    reason --

  9                MR. ROSS:    That's the premise.

 10                MR. STEINBERG:    If the only premise, Your Honor, I

 11    hope it's clear from the record that all he is doing is saying

 12    the EMI Music Arabia Soutelphan agreement doesn't transfer

 13    rights because Soutelphan didn't have the rights to transfer,

 14    then we don't have an objection --

 15                THE COURT:    I think maybe you two ought to stipulate

 16    some to language to explain why this is being read because it

 17    can I think -- trickle into an area where Mr. Loutfi is not

 18    qualified to give testimony, but as I say, if everything is

 19    premised on the fact that the moral rights couldn't be assigned

 20    in the first place, then maybe you can come up with some

 21    agreed-upon language.

 22                MR. STEINBERG:    Your Honor, I think that is a good

 23    opportunity to talk about that because it could actually

 24    shorten a bit of the trial.

 25                Your Honor, Meery -- and I'm sure I'm going to mess


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  1    up this name -- Meery Shanaman Youga Nathan our English law

  2    expert, is a rebuttal expert, and he's here to rebut what was

  3    in the expert report by Mr. Loutfi and by Mr. Cooper, both of

  4    whom opined that the wording of the EMI Music Arabia Sutify

  5    agreement did not transfer publishing rights within its own

  6    agreement.

  7                 THE COURT:    Right.

  8                 MR. STEINBERG:       If that is not the issue, the only

  9    issue that plaintiff is arguing is that EMI -- Sutify didn't

 10    have those rights to begin with.             We could stipulate that

 11    whatever rights Sutify got from Mr. Fahmy were transferred to

 12    EMI Music Arabia, whatever they were, then we could avoid

 13    Mr. Shanmuganathan, and we could also shorten the testimony of

 14    Mr. Ancliff and Mr. Cheesley.             So that's what's being discussed

 15    right now, and I'm certainly open --

 16                 THE COURT:    Why don't you meet and confer and let me

 17    know.

 18                 MR. STEINBERG:       Okay.     Thank you.

 19                 MR. ROSS:    Okay.

 20                 THE COURT:    Okay.     Then at page 59, I don't really

 21    understand, again, the qualifications for the opinion, but we

 22    may clear that up by the stipulation that I hope you will enter

 23    into.

 24                 Page 65, I would sustain the objection as being

 25    inadmissible as an opinion as to ultimate fact.             Same problem,


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  1    I guess, on 66, but -- okay.         Keep rolling ahead.

  2                 Okay.   Page 322, a whole series of questions where

  3    plaintiff has ejected on grounds of 401 and 403, and the

  4    witness subsequently provides the translation.         I take it this

  5    is really offered to show that it was difficult to pin Mr.

  6    Loutfi down, and so I'm going to overrule those objections and

  7    let the those questions be read to the jury.

  8                 Then on -- where do we go next? -- Mr. Steinberg, you

  9    tell me if I'm missing something, but I'm now at page 362, 394,

 10    okay.   On page 432 there's an objection as to lack of

 11    foundation, and I would overrule that objection.

 12                 And I think that concludes what we have, at least I

 13    hope it does.

 14                 MR. STEINBERG:   That completes Mr. Loutfi and

 15    Mr. Fahmy.

 16                 THE COURT:   Okay.

 17                 MR. STEINBERG:   There are other transcripts, but

 18    that's the ones I think that are coming up in plaintiff's case.

 19                 THE COURT:   I'm sure there are other transcripts, but

 20    those are the only ones that have been given to me so far or

 21    Ms. Xiang to rule upon.

 22                 MR. STEINBERG:   Okay.

 23                 Those are the ones I understand are being introduced

 24    through plaintiff's case --

 25                 THE COURT:   Exactly.     No, I'll realize those are the


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  1    ones you wanted me to rule on today so you would know what to

  2    read and not read.

  3               MR. STEINBERG:     Your Honor, there are four

  4    depositions we plan to play or read:        There's Loutfi and Fahmy,

  5    which you've just ruled upon.         There are objections to those.

  6    Also have very short clips from Abdel Farha, their expert, and

  7    Bob Kohn, their expert, and there were no objections there.            We

  8    didn't provide those to the court.

  9               THE COURT:    Good.

 10               All right.    I think that takes care of it.       I'll see

 11    you at 1:30.

 12               MR. STEINBERG:     When are we going to be arguing the

 13    ones that you want argument on?

 14               THE COURT:    Right now.

 15               MR. STEINBERG:     Okay.     Try to stipulate first, Your

 16    Honor.

 17               THE COURT:    Certainly try to stipulate.      Do this:

 18    Try to stipulate, report back where you are, and then you can

 19    argue when you return at 1:30; but assume it's going to be a

 20    very short argument because I need to get the jury down here.

 21               MR. STEINBERG:     Thank you, Your Honor.

 22

 23                 (Proceedings concluded at 12:54 p.m.)

 24                                 - - - - -

 25               (Laura Elias reported the P.M. Session.)


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  3               I hereby certify that pursuant to Section 753,

  4    Title 18, United States Code, the foregoing is a true and

  5    correct transcript of the stenographically reported proceedings

  6    held in the above-entitled matter and that the transcript page

  7    format is in conformance with the regulations of the Judicial

  8    Conference of the United States.

  9

 10      Date:   October 14, 2015

 11

 12                          /S/______________________

 13                                 Deborah K. Gackle
                                       CSR No. 7106
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